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                                       UNITED STATES DISTRICT COURT
                                            for the Eastern District of Virginia
                                                          Norfolk Division


United States ex rel. Joelle Angel,                                              Case No.
         V.                          Plaintiff {pro se)                               28USC§§ 1331; 1343; 1441, 1443;
                                                                    The U.S. CONSTITUTION;            5^^ & 14^ Amendments)
Don Scott,                          Don Scott Law, pllc                  42 U.S. Code § 1983 civil" Depriv'tn. of rights-color of law."
              Breit Biniazan, PC,                                        42 U.S. Code § 1985 civil "Conspiracy to prevent rights."
Mandy Owens,                        Angela Sterling,                     18 U.S. Code § 241 criminal "Conspiracy against rights."
Fanita Pendleton,                   Ethan Griffith,                      18 U.S. Code§ 242 criminal"Deprivation ... color of law."
Anthony Nicolo                      Kenneth Melvin,                      31 U.S. Code § 3729-33       The False Claims Act
Roxie Holder,                       Polly Chong,                              4^ Amendment Tilalicious Prosecution'
The Portsmouth Sheriffs Office,                                       The Va. CONSTITUTION: (Bill of Rights)
The City of Portsmouth,                                                  Va. Code          18.2-22.    Conspiracy to commit Felony
The Commonwealth of Virginia,                                            Va. Code         18.2-461:    False reports to Law Enfc'mnt.
Ameka RiddickS Family,        Lionel Nines,                              Va. Code          18.2-460: Obstructing Justice.
Kim Phiiippi,                 Chang Philippi,                            Va. Code          18.2-137 Injuring, etc., any Property:
Alliance Investment & Consulting, LLC, and                               Va. Code          18.2-416   Abusive Language Pun'ment.
Alliance Property Holdings,
                                       Defendants                                     Jury Trial demanded
                                (Individually & Collectively).           Fed.R.Civ.P.          19: Required Joinder of Parties
                                                                         Fed.R.Civ.P. 6, 8, 9(b) & 10: Rules and forms of Pleadings

                                                           COMPLAINT
                                                                 Affidavit
Introduction
1.   Pursuant to the recent Supreme Court decision [Thompson v. Clark], this maliciously prosecuted Plaintiff
     is asserting the most important secular claims that can be put forward by law-abiding citizens:
     the claim to the full measure of the right to peacefully enjoy her home and property and the inseparably
     connected but even more important claim to physical safety in the community, without 'political
     corruption:' violence, obstruction of justice, malicious prosecution, and false arrest and imprisonment
     by a conspiring Va. Delegate, his mentally-ill client, and corrupt State magistrates and judges.
Statement of the Case
2. Now comes the [pro se] Plaintiff proffering her *Qui tarn' action-Complaint—pursuant to the
   standards set foith in Federal Rules 9 (b) and 19 (Fed.R.Civ.P.). Plaintiff requests this Court to
   grant relief from 'political coiruption' and [state actor] defendants who intentionally conspire
   with a mentally-ill client, in a barrage offalse claims and malicious prosecution(s):
3. For 3 years, this Plaintiff (condo-owner) has reported an abusive, threatening next-door
   neighbor (tenant) to the neighbor's property manager and landlords, and even sought state-
   court injunctions. Notwithstanding, the neighbor persists in injuring Plaintiff and abusing the
   justice system, with the instigating plot of her Va. Delegate ['Courts of Justice' committee] attorney.
   This 'political corruption' has spiraled into conspiracy of State magistrates and judges.
4. Via the following federal and state [civil and criminal] charges and claims, Plaintiff
   requests damages and calls for criminal investigations to stop the defendants' [rjelentless
   violence, obstruction ofjustice, malicious prosecution, and false an'ests and imprisonment.
5. As victim, 1 plead for federal security because there is substantial evidence that Del. Don Scott has
   appointed 'hit men' to harm me: • Feb. and Aug., 2022—1 was assaulted and stalked by two
   conspiring Sheriff Deputies in the Portsmouth Judicial Center. The Portsmouth Sheriff and Circuit
   Court Chief Judge were briefed in a series of "Courtroom & Court BIdg. Misconduct Complaints"
   (with 6"Addendums"). 'Jan. 11, 2023-the Delegate's truant gangsters fired shots near my backdoor.

       Adapted from "Brief for the Appellants," Brown v. Board of Education, U.S. Supreme Court, 1954; Landmark Briefs
              and Arguments of the Supreme Court ofthe United States: Constitutional Law (Charles L. Black, Jr., co-writer).
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                                                 PARTIES


6. Plaintiff Joellc Angel has been'owner-occupant'ofcondo unit, 1631 Darren Cir./Ports., VA 23701
   for 4 'Ayrs. She purchased the Charlestowne condo unit from the US Dept. of HUD on 7/10/18.
     6. a. By 10/27/21 Plaintiff had been tried and acquitted of 3 [f]alse charges (filed by Ameka Riddick).
     6. b. On 11/4/21, Plaintiffs physician diagnosed & referred her to receive behavioral health
            counseling, which she began on 12/3/21 for ''anxiety and "emotional distress due to
             harassment by a next-door neighbor."
     6. c. On 5^2122, Plaintiffs licensed counselor sent a letter to Ports, Gen. Dist. Court, confirming
            her "participation in outpatient therapy ... since Dec. 3, 2021."
     6. d. On 10/12/22 at age 67, Pltf. was tried and acquitted of another false charge (by Def. Riddick).

 7.Defendant Ameka D. Riddick, age 48 (1975), is the tenant who lived next-door to Pltf. for the past 3 years.
   Ms. Riddick [and family] continue to conspire with instigator~Va. Delegate Don Scott~to; threaten
  Plaintiffs life; maliciously prosecute her; damage her property; and curse & abuse Pltf. Def.
  Riddick's criminal background includes Portsmouth Circuit Court:
           • 2003 charged with: Brandishing a firearm.         • 2003 charged with: Assault & Battery.
     7. a. Tenant and her family [daughter—Alexus Nashay Riddick, age 28 (1995)] and [caregiver sister—
             Jasmine Elizabeth Riddick, age 30 (1993)] have cussed at and threatened bodily harm to Pltf.
            They are co-conspirators and accomplices to Va. Delegate Don Scott's conspiracy and crimes.
     7. b.By her own admission, Ms. Riddick is mentally ill via: "hi-polar'" and "schizophrenic" disorders.
     7. c. Def. Riddick recently moved away on Sept. 1, 2022, at a State Court's Order. However,
           the conspiring Judge permitted her not to disclose her forwarding address.
8. Defendant Lionel T. Hlnes, Sr. is the acting Property Manager hired by the owners of Def. Riddick's
  apartment to manage their Charlestowne condo rental units. Mines conspired with Va. Del. Scott and
  Tenant Riddick by refusing to intervene, when Plaintiff requested the property manager to speak to the
  menacing tenant. Legal address; 119 Kings Gate Dr., Portsmouth, VA 23701.
 9. Defendant Kim Philippi(DBA Alliance Investment & Consulting, LLC) is Def. Riddick's former landlord of the
   condo unit (next door to Pltf). As owner and registered agent, Kim Philippi conspired with Va. Del.
   Scott and tenant to threaten Plaintiff. After Plaintiff complained of the menacing tenant, Philippi
  transferred the condo unit to a relative's business trust:
      9. a. Registered Agent's legal address is a post office box (2109 Thoroughgood Rd. # 55469).
             However, Reg. Agent's physical address is 1408 Duck Run Ct. / Va. Beach, VA 23455.
10. Defendant Alliance Investment & Consulting, LLC is the former landlord ofcondo unit 1629 Darren Cir.
    Kim Philippi is the owner and registered agent.
     10. a. The business LLC is liable because owner conspired with Va. Del. Scott and tenant by refusing
            to intervene when Plaintiff complained about the menacing tenant, then threatened Plaintiff.
11. Defendant Chang I. Philippi (DBA Alliance Property Holdings) is the current landlord of condo unit 1629
    Darren Cir. (next door to Pltf). As owner and registered agent, Chang Philippi conspired with Va.
    Del. Scott and tenant by refusing to intervene, when Plaintiff complained about the menacing tenant.
     11 a. Registered Agent's legal address is a post office box (2109 Thoroughgood Rd.# 55469).
            However, Reg. Agent's physical address is 1408 Duck Run Ct. / Va. Beach, VA 23455.
12. Defendant Alliance Property Holdings is the current owner/ landlord of condo unit 1629 Darren Circle
   (next door to Plaintiff). The business LLC is liable because owner conspired with Del. Scott and tenant
    by refusing to intervene when Plaintiff complained about the menacing tenant (via prop, mngr.), then
   threatened Pltf. (via former owner & relative). Physical address: 1408 Duck Run Ct. / Va. Beach, VA 23455.
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13. Defendjinis Don L. Scott, Jr. (VSB # 88725)& Don Scott Law, PLLC (VSB Entity Reg.# 96847)--Va. delegate,
  licensed atty. & Law firm(s)—instigated, conspired with, advised and represented Def. Riddick in all her
   malicious prosecutions against Pltf. Legal address: 355 Crawford Street (Suite 704), Portsmouth, VA 23704.
      13. b. Don Scott is a Delegate in the Virginia Assembly and the House 'Courts of Justice' committee.
      13, b. House Min. Ldr. conspired with magistrates and judges in all the malicious prosecutions against Pltf.
      13.c. Delegate Scott is an 'ex-felon' who served 7 years in federal prison for drug-related charges.
14. Defendant Breit Biniazan, PC.(VSB Entity Reg. # 80081) is the current law firm that employs Atty. Don Scott.
        14. a. Def Scott's latest retaliatory, conspiracy actions have been conducted through this law firm.
        14. b. Legal address of registered agent: Jeffrey A. Breit, Breit Biniazan PC., 600 22"^^ St. (Suite 402)
              Virginia Beach, VA 23451.
15. Defendant Mandy L. Owens is a Va. State Magistrate. She conspired with Del. Scott and Def. Riddick to
        issue an illegal 'Emergency Protective Order'(EPO) against Plaintiff. Legal address: Portsmouth
        Magistrate's Office, 700 Port Centre Pkwy., Portsmouth, VA 23704.
16. Defendant Angela L. Sterling [w]as a Va. State Magistrate. She conspired with Del. Scott and Def.
        Riddick to charge Plaintiff with the false crime of"Trespassing." She has since relocated.
       Current legal address: Jackson Heart Clinic, 970 Lakeland Dr.(Suite 61), Jackson, MS. 39216,
17. Defendant Fanita Y. Pendleton is a Va. State Magistrate. She conspired with Del. Scott and Def
       Riddick to charge Plaintiff with the false crime of"Violation ofProtective Order." Legal address;
       Portsmouth Magistrate's Office, 700 Port Centre Pkwy., Portsmouth, VA 23704.
18. Defendant Ethan C. Griffith is a Va. State Magistrate. He conspired with Del. Scott and Def. Riddick to
        charge Plaintiff with the false crime of "Violation of Protective Order." Legal address:
        Portsmouth Magistrate's, Office, 700 Port Centre Pkwy., Portsmouth, VA 23704.
19. Defendant Anthony J. Nicolo is a Va. Substitute Judge. He conspired with Del. Scott and Def. Riddick to
        enter an illegal 'Permanent Protective Order' against Plaintiff. Legal address: Ferrell, Sayer &
       Nicolo (law firm) 355 Crawford Street (Suite 704)Portsmouth, VA 23704.
20. Defendant Kenneth R. Melvin is a Va. Circuit Court Judge. He conspired with Del. Scott and Def.
       Riddick to enter an illegal 'Permanent Protective Order' against Plaintiff. Legal address:
       Portsmouth Circuit Court, 1345 Court St., Portsmouth, VA 23704.
21. Defendant Roxle O. Holder is a Va. Gen. Dist. Court Chief Judge. She conspired with Del. Scott and
       Def. Riddick to deny Pltfs. constitutional right to a 'Protective Order' against Def. Riddick.
       Legal address: Portsmouth General District Court, 1345 Court St., Portsmouth, VA 23704.
22. Defendant Polly Chong is a Va. Substitute Judge. She conspired with Del. Scott and Def. Riddick to
       obstruct Plaintiffs justice, by verbal and written reprimand, in retaliation to the Prosecutor's
        Motion for 'Nolle Prosequi' (not to rosecute). Legal address: Polly Chong Law Office, 732-B
        Thimble Shoals Blvd.(# 201), Newport News, VA 23606.
23. Defendant The City of Portsmouth is vicariously liable for its Police officers (R. W. Morton & W. F. Carr)
        conspiring with Del. Don Scott and Def. Riddick against the Plaintiff via threats and misconduct.
        23.a. The City is State-chartered and may sue and be sued by power of the Constitution and Code
              of Va. Legal address: Office ofthe City Manager, 801 Crawford St., Portsmouth, VA 23704.
24. Defendant The Portsmouth Sheriff's Office is vicariously liable for two (2) Deputies (D.T. Edwards & A.
        Smith) who conspired with defendants, assaulted, and stalked Plaintiff. Legal address: Office of the
        Sheriff, 1345 Court St., Ports., VA 23704.

25. Defendant The Commonwealth of Virginia is vicariously liable for the criminal and tortious acts of its
        State officials and employees who conspired with Del. Don Scott and Def. Riddick to maliciously
        prosecute Plaintiff. Legal Address: Office of the Attomey General, 202 N. 9^^ St., Richmond, VA 23219.
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                                        state Actors - Defined


26. Tn United States constitutional law, a 'state actor' is a person who is acting on behalf of a
    governmental body and is therefore subject to limitations imposed on government by the United
    States Constitution. The imposed limitations include the        5^*^, and 14^^ Amendments, which
    prohibit the federal and state governments from violating certain rights and freedoms.
27. Tn this action, all acts of conspiracy are attributable to the State because all defendants
    [c]onspired with 'state actors'- • Va. Delegate Don Scott, • Va. Magistrates and Judges and • Law
    enforcement - who abused their State office by conspiring with a client/ complainant; charging
    Plaintiff with false crimes; and maliciously prosecuting her, in retaliation for asserting her rights.
    Thus, all defendants are liable as 'state actors' because they conspired with State government
    officials and ''acted under color oflaw"" to deprive Plaintiff of her Constitutional and civil rights:
State Actors' Motive
28. Delegate Don Scott is a member of the Va. House of Delegates' "Courts of Justice Committee."
    During Sept. 2017 - Sept. 2021, the criminal justice lawyer led a legal team in a sham lawsuit
    against the City of Portsmouth supposedly for ® 10,000,000.                ten million) in Ameka Riddick's
    'wrongful death' lawsuit.         [see Exhibit 1 (b & c): Va. House of Delegates' online data.]
29. Midstream, the shrewd and cunning lawyer advised his client to settle for only ® 500,000.
    (® y2 million), in order to embellish his clout with the City-taking advantage of his client for
    personal gain. Yet his client remains naive, loyal and very imperceptive.
30. Tn exchange for his client's settlement, Delegate Scott arranged for her full liberty to harass,
    curse and abuse, violently threaten, and maliciously prosecute a law-abiding, suspecting next-
    door neighbor.                    [see Exhibit 2: Del. Scott's Retainer letter.]
31. Per Virginia Poiitics (subsidiary of the Washington Post), "Don Scott spent seven (7) years in federal
    prison on a drug-relatedfelony conviction.''
32. Delegate Scott is an 'ex-felon' and alleged to be 'Big Crime Boss' of a multifaceted 'crime ring' who
    abuses his State office to justify federal funding to the City of Portsmouth, as a "high-crime
    area'' His client (Ameka Riddick) is suspected to be an active participant (in his 'prostitution ring').
    Some City Council members are alleged to be co-leaders of the 'crime ring.'
State-actor Defendants
33. Va. Delegate [Courts of Justice committee]- Don Scott(via the 2foresaid law firms) abused his State office
     by instigating and conspiring with Va. magistrates and judges to charge Plaintiff with false crimes
     against his client (Ameka Riddick). Then he advised and represented his client in State-court
     actions against Plaintiff. Consequently, Delegate Scott [cjonspired with State Magistrates,
     Judges, and Law enforcement to maliciously prosecute Pltf, and falsely arrest and imprison her.
34. Tn a series of"Courtroom & Court Building Misconduct Complaints" (including 6 "Addendums"), Plaintiff
    reported to Portsmouth Sheriff and Circuit Court Chief Judge that she had been stalked and
    assaulted by two Sheriff Deputies who conspired with Delegate Scott.
                                      [see Exhibit 3; [1®']Courtroom & Court Building Misconduct Complaint]
35. Also, 'ex-felon' 'House Minority Leadef Delegate Scott conspired with Def. Riddick's landlords
    and property manager to ignore Plaintiffs pleas to stop their menacing tenant. Thus, they
    retaliated by verbally assaulting Plaintiff and testifying falsely in Court against her.

36. By conspiring with his client. State Magistrates, Judges, and Law enforcement. Delegate. Scott
    intentionally abused his office and violated Plaintiffs First Amendment constitutional rights.
    He also violated federal [civil and criminal] statutes: 42 U.S. Code § § 1983 & 1985 and 18 U.S. Code
    § § 241 & 242 "conspiracy and deprivation ofrights under color oflaw."                                    4
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Va. MAGISTRATES: Mandy Owens, Angela Sterling, Fanita Pendleton & Ethan Griffith:
37. knowingly conspired with Va. Delegate Don Scott and his client, complainant (Ameka Riddick) to
    illegally charge Pltf. with false crimes, maliciously prosecute, and deny her Constitutional rights:
    Mandy Owens:
38. June 22, 2021—Chief Magistrate (Owens) conspired with Va. Delegate Don Scott and his client
    complainant (Ameka Riddick)-by illegally issuing an 'Emergency Protective Order" (EPO) against
    Plaintiff because Complainant alleged that Plaintiff was,
                           "speaking a unknown language as if she was cursing me."
    [inside Plaintiffs house]. Complainant further alleged the fear of having a                  put on her.

39. Per the Va. Magistrate Manual. Magistrate Owens [f]ailed to:
                           "exercise due diligence; properly question the alleged victim; or
                           reasonably consider the context of all relevant circumstances."
40. Had Magistrate Owens done so, she would have realized that the alleged victim actually objected
    to Plaintiffs First Amendment rights to ''free exercise of religion" and 'freedom of speech"--
    Biblical PRAYER! (Mark 16:17-kjv; 1 Corinthians 14:2-Niv)              [i-cc Exhibit 4: Em'gncy Protec. Ord.j

41. On June 25, 2021 in Portsmouth Gen. Dist. Court, Ms. Riddick filed 'Petition for
    Extension of Protective Order' (Prel'im. Protective Odr.), alleging the same illegal charge:
                    "speaking an unknown language ...as if she's cursing me."
42. However, in a July 9, 2021 hearing, the 'Petition' was [d]enied because Ms. Angel asserted her
    First Amendment, constitutional rights to "free exercise of religion" and 'freedom ofspeech"
    Tn so doing, the Court affirmed that the 'Emergency Protective Order' and 'Petition for Preliminary
    Protective Order' were violation(s) of the United States Constitution.
                                                           {see Exhibit 5: Denial of 'Prelim. Protec. Odr.']

43. Ms. Angel filed a complaint against Magistrate Owens with the Va. Dept. of Magistrate Services.
                                                               [see Exhibit 6: PItfs, Cmplt. of Magistrate O.]
44. By conspiring with Delegate Scott and Defendant Riddick, Chief Magistrate Owens intentionally
    abused her discretion and violated Plaintiffs First Amendment constitutional rights. She also
    violated federal [civil and criminal] statutes: 42 U.S. Code § § 1983 & 1985 and 18 U.S. Code § § 241
    & 242 "conspiracy and deprivation ofrights under color oflaw."
    Angela Sterling:
45. July 17, 2021-Magistrate (Sterling) conspired with Va. Delegate Don Scott and his client-
    complainant (Ameka Riddick)—by illegally charging Plaintiff with the crime of Trespassing'
    because Complainant alleged that Plaintiff had trespassed the front yard of her condo rental unit
    by,                "... planting plants in front of my'No Trespassing' sign."

46. Per the Va. Magistrate Manual. Magistrate Sterling [f]ailed to:
                           "exercise due diligence; properly question the alleged victim; or
                           reasonably consider the context of all relevant circumstances."
47. Had Magistrate Sterling done so, she would have realized that the alleged victim (tenant) lived in a
    Virginia 'condominium' of which State law clearly establishes that all exterior land is "common
    elements" State law further declares that the [a]lleged victim (tenant) was actually violating the
    Va. Condominium Act by posting a 'personal sign' on the grounds of the "common elements" and
    specifically in [P]laintiffs front yard ("limited common elements"). The case was "dismissed with
    prejudice" based on Ms. Angel's legal explanation, [see Exhibit 7: Warrant & Dismiss-Trespassing.]
                                                                                                                    5
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48. Ms. Angel filed a complaint against Magistrate Sterling with the Va. Dept. of Magistrate Services
                                                            [see Exhibit 8: Pltfs. Cmplt. of Magistrate S.]
49. By conspiring with Delegate Scott and Defendant Riddick, Magistrate Sterling intentionally
    abused her discretion and violated Plaintifrs Constitutional rights. She also violated federal [civil
    and criminal] statutes: 42 U.S. Code § § 1983 & 1985 and 18 U.S. Code § § 241 & 242 ^^conspiracy
    and deprivation ofrights under color oflawT

    Fanita Pendleton:
50. Sept. 28, 2021--Magistrate (Pendleton) conspired with Va. Delegate Don Scott and his client
    complainant (Amcka Riddick)"by illegally charging Plaintiff with the crime of 'Violation of
    Protective Order' because Complainant alleged that Plaintiff had contacted her after being Court-
    ordered not to do so:
               "... Ms. Angel falsi^ed a warrant stating I violated my 'protection order' ... when i had surgery.
                ...I received a warrant for my arrest after I turned myself in I went home where Ms. Angel
                 was standing in front of my door stating to me I Got you Now and starting giggiing like a witch. ..."
    Complainant did not present 'witness,' audio or video evidence of her allegations.

51. Per the Va. Maolstrate Manual. Magistrate Pendleton[f]ailed to:
                         "exercise due diligence; to properly question the alleged victim; or
                         reasonably consider the context of all relevant circumstances."
52. Had Magistrate Pendleton done so, she would have realized that no crime had been committed
    because Complainant presented no proof or evidence that the incident occurred. The case was
    ''dismissed with prejudice''^ based on Ms. Angel's defense/ explanation.
53. By conspiring with Delegate Scott and Defendant Riddick, Magistrate Pendleton intentionally
    abused her discretion and violated Plaintiff's Constitutional rights. She also violated federal [civil
    and criminal] statutes: 42 U.S. Code § § 1983 & 1985 and 18 U.S. Code § § 241 & 242 "conspiracy
    and deprivation ofrights under color oflaw.^^     [see Ex. 9: Warrant & Dismiss—Viol.. Protec. Or.']

    Ethan Griffith:
54. August 23, 2022-Magistrate (Griffith) conspired with Va. Delegate Don Scott and his client-
    complainant (Ameka Riddick)-by illegally charging Plaintiff with the crime of 'Violation of
    Protective Order' because Complainant alleged that Plaintiff had contacted her after being Court-
    ordered not to do so:
               "Ms. Angel... mailed me a letter. ... Ms. Angel has violated her protection order
                by contacting me when She was told by the judge to have no contact with me."
55. Per the Va. Magistrate Manual. Magistrate Griffith [f]ailed to:
                         "exercise due diligence; to properly question the alleged victim; or
                         reasonably consider the context of all relevant circumstances."
56. Had Magistrate Griffith done so, he would have realized that no crime had been committed
    because Plaintiff legally obeyed Va. Supreme Court Rules by mailing a copy of a filed pleading to
    the unrepresented party. For that reason, the Prosecutor motioned "nolle prosequi"(abandonment of
    suit or action). The case was dismissed.     [see Exhibit 10: Warrant & 'Nolle Pros.'—Viol.. Protec. Or.']

57. By conspiring with Delegate Scott and Defendant Riddick, Magistrate Griffith intentionally abused
    his discretion and violated Plaintiffs Constitutional rights. He also violated federal [civil and
    criminal] statutes: 42 U.S. Code § § 1983 & 1985 and 18 U.S. Code § § 241 & 242 "compiracy and
    deprivation ofrights under color oflaw."'
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VA. Court JUDGES: Anthony Nicolo, Kenneth Melvin, Roxie Holder & Polly Chong:
58. knowingly conspired with Va. Delegate Don Scott and his client—complainant (Ameka Riddick)—
    to illegally enter 'Protective Order(s)' against Plaintiff, obstruct justice, maliciously prosecute,
    and deny her Constitutional rights. During the hearings, it [a]ppeared that each of the four judges
    were listening to Delegate Scott's instructions via an electronic listening device:
      Va. General District Court Substitute Judge-Anthony J. IMicolo (VSB id# 16723):
59. May 25, 2022~Judge (Nicolo) conspired with Va. Delegate Don Scott and his client—complainant
    (Ameka Riddick)~by illegally entering a 'Permanent Protective Order' against Plaintiff, because
    she was recorded by Complainant's doorbell camera saying,
                            "No Justice.       No Peace!"

60. Notably, Riddick's 'complaint' did not allege "violence, force, or threat." Per the Deputy
      Director of Legal Aid Society of Eastern Virginia.:
                   "The petitioner's complaint does not meet the standards of Va. Code
                    § 19.2-152.10 Protective Order, prohibiting acts of violence, force or threat."
61. Although Plaintiff Angel proffered that defense and her First Amendment right to "freedom of
    speech" in a written "Motion to Dismiss" and verbally expressed it at the hearing, that:
                 "'No Justice. No Peace!' expresses my constitutional right to freedom ofspeech."
      Judge Nicolo harshly [djenied Plaintiffs defense and illegally entered the maximum 2-year
      'protective order' on a law-abiding-citizen, without justification of that statute.
                                       [see Exhibit 11: Angel's Mot. to Dismiss Protec. Order]
62. By conspiring with Delegate Scott and Defendant Riddick, Judge Nicolo intentionally abused his
      discretion and violated Plaintiffs First Amendment constitutional rights. He also violated federal
      [civil and criminal] statutes: 42 U.S. Code § § 1983 & 1985 and 18 U.S. Code § § 241 & 242
      ^'conspiracy and deprivation ofrights under color oflaM'.""                  {see "FACTS," p. 15)
                                       [see Exhibit 12: Gen. D. Ct.~Perm. Protec. Dr.]

      Va. Circuit Court—Judge-Kenneth R. Melvin (VSB t o # 17157):
63. June 6, 2022-At an appeal hearing. Judge Melvin conspired with Va. Delegate Don Scott and his
    client-complainant (Ameka Riddick)-by illegally entering a 'Permanent Protective Order' against
    Plaintiff, because she was recorded by Complainant's doorbell camera saying,
                                             "No Justice.     No Peacel"

64. Notably, the 'complaint' did not allege "violence, force, or threat." At the appeal hearing, the
      Staff Attorney for Legal Aid Society of Eastern Virginia, established:
                  "The petitioner's complaint does not meet the standards of Va. Code
                    § 19.2-152.10 Protective Order, prohibiting acts of violence, force or threat."
65.    However, Judge Melvin [djenied the Legal Aid pleading. He also denied Plaintiff Angel's First
       Amendment right to "freedom of speech," although she had proffered it in a written "Motion to
       Dismiss" and verbally expressed at the appeal hearing, that:
                    "'No Justice. No Peace!' expresses my constitutional right to freedom ofspeech."
      Judge Melvin harshly [djenied Plaintiffs defense and illegally entered the maximum 2-year
      'protective order' on a law-abiding-citizen, without justification of that statute.
                                       [see Ex. 13: Cir. Ct.-Perm. Protec. Or.]            {see "FACTS," p. 16)

66. By conspiring with Delegate Scott and Defendant Riddick, Judge Melvin intentionally abused his
    discretion and violated Plaintiffs First Amendment constitutional right. He also violated federal
      [civil and criminal] statutes:     42 U.S. Code § § 1983 & 1985 and 18 U.S. Code § § 241 & 242
      ''conspiracy and deprivation ofrights under color oflaw.''                                              7
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    Va. General District Court-Chief Judge - Roxie O. Holder (VSB i d. # 20944):
67. June 23, 2022--Chief Judge Holder conspired with Va. Delegate Don Scott and his client
    (Ameka Riddick) by illegally denying Plaintiffs 'Petition for Protective Order' against Ms.
    Riddick, although Ms. Riddick had repeatedly cussed and threatened Plaintiff.
68 Although Plaintiff based her legal right to the 'petition' on the 5'^ and 14'^ constitutional
   Amendments-"due process" and "equal protection of the /avv"~and verbally expressed it in the
   hearing. Judge Holder denied Plaintiffs petition, [see Exhibit 14: Angel's Pett. for Protec. Or.]

69. The Judge also "obstructed Plaintiffs' justice" by denying her right to [ojbject in the hearing:
    After Plaintiff politely stated "Objection" in response to Ms. Riddick's repeated lies, Judge Holder
    rudely rebuked Ms. Angel twice:               Be quiet\          Be quietV
    Before the Judge dismissed the case, she did not ask Plaintiff if she had objections or concerns.
70. By conspiring with Delegate Scott and Defendant Riddick, Judge Holder intentionally abused her
    discretion and violated Plaintiffs First Amendment constitutional rights. She also violated federal
    [civil and criminal] statutes; 42 U.S. Code §§ 1983 & 1985 and 18 U.S. Code §§ 241 & 242
    "conspiracy and deprivation ofrights under color oflaw''                           {see "FACTS," p. 18)
                                                   [see Exhibit 15: Judge Holder's Denial of Protec. Or.]

    Va. General District Court Substitute Judge- Polly Chong (VSB i d. # 39712):
71. October 12, 2022- Substitute Judge Chong conspired with Va. Del. Scott and his client
    (Ameka Riddick) to obstruct Plaintiffs justice by harshly reprimanding and retaliating against
    Pltf. (verbally and in writing), to support Complainant's protest of the Prosecutor's motion for
    "nolle prosequi" (abandonment of suit or action). The Judge's rebuke, written at the bottom of the
    case disposition, could potentially and illegally influence a Circuit Court judge to deny Plaintiffs
    'expungement' of that Court record.          [see Exhibit 10: Warrant & 'Nolle Pros.'—Viol.. Protec. Or.']
72 By conspiring with Delegate Scott and Defendant Riddick, Judge Chong intentionally abused her
   discretion and violated Plaintiffs First Amendment Constitutional rights. She also violated federal
   [civil and criminal] statutes: 42 U.S. Code §§ 1983 & 1985 and 18 U.S. Code §§ 241 & 242
   "conspiracy and deprivation ofrights under color oflaw."            {see "FACTSf p. 20)

State Actor Police Officers
73. March 18, 2022-Two (2) Ports. Police officers (R. W. Morton and W. F. Carr) knowingly conspired
    with [state actors] Del. Scott and Complainant Riddick by harassing and threatening the Plaintiff.
    They ... : •opened my storm door and walked in without knocking.
                • disputed and argued with me.        • yelled over me (while I was speaking).
                • publicly implied (to Complainant) that I was insane.
                • threatened to file an officer-initiated 'protective order' against me.
74. T reported the incidents to the officers' supervisor (Sgt. R. McDaniel). He suggested that T also
    report the misconduct to the Professional Standards Unit. In my written report, T stated that
    T believed both Police officers and multiple others were cooperating with Del. Don Scott's
    retaliation tactics because the next door neighbor (Ms. Riddick) is his client.
                                                  [see Exhibit 16: PItfs. Complaint against Police Officers]
75. By intentionally conspiring with Delegate Scott and Defendant Riddick, Officers Morton and Carr
    abused their discretion and violated Plaintiffs First Amendment constitutional rights. The officers
    also violated [civil and criminal] statutes: 42 U.S. Code §§ 1983 & 1985 and 18 U.S. Code §§ 241 &
    242 "conspiracy and deprivation ofrights under color oflaw."                {see "FACTS," p. 14)
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State Actor Sheriff Deputies
76. Two Ports. Sheriff Deputies knowingly conspired with state actors Del. Scott and client by
    assaulting and stalking Pltf. Both were tall, muscular men who towered over a 5'3"- tall senior lady:
77. Feb. 3, 2022-1 suffered one of the Deputies (A. Smith), who arrested me in July 2021 concerning
    false criminal charges, to to strike me with unnecessary force to deliberately distract me from a
    Judge's granting of my 'Expiuigement

78. July 11, 2022-The Deputy (D.T. Edwards) that T had reported to the Sheriffs Office for yelling
    profanity in the Court building in 2021 appeared in Judge Melvin's courtroom and sat in the
    audience directly behind me (while I sat at the Plaintiffs' table), as if he knew that T was scheduled
    to appear. He was not the Bailiff on duty.

79. When T left the Courtroom, that Deputy waited until T boarded the elevator alone; then he
    hurriedly boarded the elevator. Distressed and frightened, 1 immediately left the elevator and
    walked across the hall to the restroom. Since he knows every inch of the Court building, he could
    have easily harmed and disposed of me!
                                          [iw Exhibit 3:[f 1 Courtroom & Court BIdg. Misconduct Complaint.l
80. By intentionally conspiring with Delegate Scott and Defendant Riddick, the 2 Sheriff Deputies
    criminally assaulted and stalked Plaintiff, abused their discretion, and violated Plaintiffs First
    Amendment constitutional rights. The Deputies also violated federal [civil and criminal] statutes:
    42 U.S. Code §§ 1983 & 1985 and 18 U.S. Code §§ 241 & 242 ^'conspiracy and deprivation ofrights
    under color oflawE

State Actor Private Citizens and Organizations
81. The Supreme Court has held [pjrivate citizens to be liable as 'state actors' when conspiring with
    government officials who "act under color oflaw" to deprive people of their rights. There are a
    number of cases where the Supreme Court has recognized the conduct of individuals or private
    organizations to be "state action" and therefore subject to provisions of the Constitution, such as
    "equal protection,""due process," or the First Amendment.
82. Tn the following cases, the Supreme Court held that:
    Private persons jointly engaged with state officials are acting "under color oflaw," for purposes
    of 1983 actions as state actions:
         .Marsh v. Alabama, 326 U.S. 501 {1946). • Rendell-Baker v. Kohn, 457 U.S. 830(1982).
          • Shelley v. Kraemer, 334 U.S. 1 (1948).   • Burton v. Wilmington Parking Authority, 365 U.S. 715 (1961).
                   • Brentwood Academy v. Tenn. Sec'dy ... Assoc. 535 U.S. 971 (2002).

83. Thus, in this Plaintiffs action, all private-citizen and organization defendants are liable as 'state
    actors' because they knowingly conspired with State government officials who "acted under
    color oflaw" to deprive Plaintiff of her rights:

    Landlords & Property Manager: • Kim Philippi, • Chang Philippi & • Lionel Mines:
84. Defendant Landlords—Kim Philippi and Chang Philippi and acting Property Manager Lionel Hines-
    acted as a unit (in concert) when they:
    •conspired with Va. Delegate Don Scott and their tenant(Ameka Riddick) to ignore Plaintiffs
        pleas to stop the tenant from harassing, threatening, and verbally assaulting the Plaintiff;
    •threatened to call the Police on Plaintiff;
    •falsely testified in Court against Plaintiff; and ^failed to obey a 'Subpoena' to appear in Court.
                                                Exhibit 17: Angel's'Subpoena for Witnesses."]
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  85.     March 23, 2020--Plaintiff spoke with Landlord Kim Philippi through a security gate intercom.
          Plaintiff asked Ms. Philippi to speak with her menacing tenant. However, Ms. Philippi yelled at
          Plaintiff and demanded her to speak with the Property Manager. After Plaintiff reminded the
          landlord that she had done so many times, Ms. Philippi yelled at Pltf. again and threatened her:
                                  7 have a property manager, and you should talk to him!
                                  Don't come to my house againl or I'll call the Police!"
  86.     March 26, 2020—Plaintiff mailed a letter addressed to Landlord(s) Philippi and Property Manager
          Mines regarding: Notice of Tenant Disturbance. However, they did not respond to Plaintiffs letter.
          The Landlords and Property Manager refused to:
                 '^exercise reasonable care to prevent harm, in reckless disregard" of Plaintiffs request.
                                          [.96^^ Exhibit 18: Pllfs. Letter to Landlord & Property Manager]
  87.   By intentionally conspiring with Delegate Scott and Defendant Riddick, Landlords Kim and
        Chang Philipi and Property Manager Mines acted in concert to violate Plaintiffs federal [civil and
        criminal] rights and statutes: 42 U.S. Code § § 1983 & 1985 and 18 U.S. Code § § 241 & 242
        ''conspiracy and deprivation ofrights under color oflaw"         {see "FACTS," p. 11)
                                  CLAIMS & JURISDICTION: The False Claims Act(PGA)
  88.             United States
                 First (1st) Amendment:                        Free exercise of religion & Freedom of speech.
                 Fifth (5'^) & 14th Amendments:                Due Process & Equal Protection of the Law.
                 42 U.S. Code §1983                            Civil action for Deprivation of Rights (undercolor of law).
                 42 U.S. Code § 1985(2)&(3)                    Civil action for Conspiracy to Interfere with Rights.
                 18 U.S. Code § 241                            Criminal action for Conspiracy against Rights.
                 18 U.S. Code § 242                            Criminal action for Deprivation of rights under Color of Law.
                 Fourth Amendment;                             Malicious Prosecution.
  89.            Viroinla Constitution & Va. Code
                 Malicious Prosecution.                        §18.2-461    False reports to Law Enforcement.
                 § 18.2-22. Conspiracy to commit Felony.       §18.2-460    Obstructing Justice.
                 §18.2-137: Injuring, etc., any Property.      §18.2-416    Punishment for Abusive Language.

                                                           FACTS
                                                Conspiracy Private Citizens

90.                      2019       Defendant Landlords & Property Manager Conspiracy with Ameka Riddick:
                   Disturbing the Peace:
Oct. 21, 2019:     Plaintiff left a voicemail msg. & sent a text to acting Property Manager Lionel Hines concerning
                   the (10:00 p.m.) Tenant's loud, disturbing music, singing/ screaming, and yelling through the
                   wall. Plaintiff informed property manger that she had gone next door and spoken to the Tenant,
                   requesting her to lower the volume. Def. Mines did not retum Plaintiffs call. However, he text
                    her back,"Ok."
Dec. 12,'19 -      Threats to Beat Ms. Angel
Jan. 3,"20:        Plaintiff repeatedly text Def. Hines and informed him that she had called the Police
                   due to Tenant's combative and belligerent behavior: loud stereo noise (violating the 10:00 p.m.
                   Noise Ordinance); beating on the wall; yelling and cussing through the wall and in back yard;
                   and threatening to beat Plaintiff.

91.(a.)                 2020        Confrontation & Threats from Landlord:
March 23,'20: Confrontation with Landlords
                   Plaintiff drove to Landlord Kim Philippi's house and rang her intercom (outside the gate). Pltf
                   identified herself and asked Philippi to speak to her [1629 Darren Circle] tenant about the
                   constant disturbance,"... because the property manager is not doing anything about it."
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91.(b.) 2020 Def. Kim PhilippI yelled at Plaintiff, "I have a property manager, and you should talk to him!
        Don't come to my house again!" Then, she threatened to call the Police. Plaintiff yelled back,"I just
        told you,'Mr. Hines is not doing anything about it!'" Def. Philippi hung up!
          Plaintiff mailed Letter to Landlords and Property Manager
March 26,"20: Plaintiff mailed a letter to Landlords and Property Manager: RE: Notice of Tenant Disturbance


92.        2020            Property Destruction / Threat to KILL Me / Curse & Abuse:
April 19, 2020; Destruction of Property
          Tenant snatched up Plaintiffs flowers, while loud talking to her friends.
          I text the property manager that I would be filing Court complaints against him & Landlord.
June 10,2020: Property Destruction
          Ms. Riddick pulled up numerous flowers from my flower bed and threw them (with attached dirt) onto
          my walkway and into my flower bed. Because I discovered it at night, I walked in the dirt, tracked it
          in my house, and soiled my ceramic tile and carpet.
(11:48 p.m.);   Police obtained Admission Testimony
          Police Officer arrived, went next door & spoke w/ Tenant. He asked if she pulled up the flowers next
          door and threw them on the neighbor's property. She admitted, "Because they were on my sidet'
June 15, 2020; Court Filing against Tenant
          Plaintifffiled a property damage claim against the Tenant in Ports. Gen. Dist. Court. However, the
          case was dismissed because T did not mail complaint to Ms. Riddick's attorney. Actually, T had not
          been apprised that she had obtained counsel.
July 17, 2020: Threat to Kill.
           Tenant drove up and parked in her own parking space beside Plaintiff, who was sitting in her own car.
           Plaintiff smiled at the Tenant. However, as Tenant exited her vehicle, she cussed at Plaintiff and
           threatened to shoot her:          "I'm so tired of you, Bitch. I'm gon'na fire on your ass!"


93.(a.)            2021          Family Bullying/ Violent Threats I False Charges-Abuse of Justice System
 July 16,'21: Def. Riddick(& family) threatened to beat me; cussed & berated me, and tried to run me off the
          road. While I was working in my front-yard flower garden, Ms. Riddick startled me by yelling
          profanity from her doorbell intercom:        "Hey bitch, I can see you. I hate yo'old ass."
                                                             Motherfucker, don't come near my yard. Fucking Bitchl"
 I stumbled and almost fell. A neighbor walked to my door, and we went inside. Def. Riddick continued to
 scream through her intercom (from a remote location), as we stood inside my house.
 Shortly, Ms. Riddick and her Sister, caregiver (Jasmine Riddick, age 28) arrived. They stood outside her
 condo unit (next-door to mine), cussed and threatened to do me bodily harm. Ameka Riddick said:
                                    "I'm so sick ofyo' old ass, Bitch. I'm going to beat your motherfucking ass.
                                    My daughter is coming, and we gonna'kick yo'old motherfucking ass!"
 Her caregiver Sister (Jasmine Riddick) yelled: "Fuck you' old ass, bitch. We're gonna fuck your ass up\" When
 Def's daughter CAlexus NaShay RiddickJ arrived, she parked her car closely behind my car. As she jumped
 and stomped on my brick flower border, she yelled:
 "I got you blocked in bitch, so you can't go no damn where. I'm sick of yo' old ass, and I'm gonna kick yo'
 motherfucking ass. I'm gonna fuck yo' ugly ass up, motherfucker! Come on outside. Bitch, so I can fuck yo' old
 ass up!" I called Emergency. When the Police arrived, the officers directed me to file an Emergency
 Protective Order at the Magistrate's office. The neighbor, who witnessed some of her behavior, accompanied
 me.                                      Exhibit 19: Witness'(Parker's") account of Harassment]                   11
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93(b.)                    2021        Reckless Driving /following too Closely &         Curse and Abuse
As I drove out of the court, her daughter (Alexus Riddick) followed me (too closely). She continued her
reckless driving on Greenwood Dr. When I pulled my car off the road and stopped, Alexus Riddick stopped
her car on Greenwood Dr. closely beside my car and yelled the same profane threats out the window.
Blocking my Driveway (12:40 a.m.)
When my neighbor and I returned from the Magistrate's office, Def. Riddick had parked her car partially in
my driveway and partially in her own. She was standing outside her door with a cell phone positioned to
photograph me. I called Emergency. When the same Police officers arrived, she hurried inside her house.
After observing her car, one Police officer knocked on her door and directed her to; ''Move your car, now!"


94.              2021                     RIddick's' Confession of Mental Disorder
                 Curse and Abuse
Sept. 28,2021    Def. Riddick was summoned to the Police station for violating my 'Protective Order.'
                 She retaliated by 'yelling and cussing at me from her front and back yards:
                                   "Old-ass bitch! I'm so ti'ed of you, old ass bitch!
                                   You mad 'cause Don Scott's election sign is in my yard.
                 This ain't no condo. This is a townhouse! I'm so damn ti'ed of you—old-ass motherfucker!
                 You ain't got no house worth nothing. Buy yourself a hundred-thousand-dollar house, bitch!
                                   I'm bi'polar and schizophrenic, and 'day ain't gon'do nothing to mel"



95.           2021 I    Delegate (Don Scott) represents Def. Riddick. RIddick's Retaliation: Threat to Kill Me:
Oct. 7,2021): Va. Delegate Don Scott retained by Def. Riddick
      Two(2) days after this US District Court complaint was served on Def Riddick, Va. Delegate Don Scott
      sent a letter to State Court that he had been retained by Ameka Riddick.
          "I have been retained to represent the interests of Ameka D. Riddick ... for arraignment in the
           Portsmouth General District Court, Criminal Division on Oct. 8, 2021, at 8:00 am. ..."
      He further stated, "Please note that Ms. Riddick is currently scheduled to appear in Court on Oct. 2Z
                           2021 for related matters concerning the same facts and circumstances."
Oct. 7, 2021 (11:35 p.m.): Threat to Kill; Another Retaliatory False Charge
      Def. Riddick, harassed and cussed me through the wall (that divides our condo units): she played extremely
      loud music, yelled, screamed, and threatened retaliatory false charges against me. Speaking in an eerie
      voice, she sounded like she was recording a suicide confession:
              "I'm gon'na blow my fucking brains out\ "Charge my neighbor with murder, murder, murder!
              She drove me to do this. Charge Joelle Angel with murder!, murder!, mur-derrrH!
              I'm losing my fucking mind, and she did this to me! Charge her with mur-derrriU
              Old-ass bitch!, you ruined my life!, and you gon'na be charged with murder!
              I didn't say that I was schizophrenic and bi-polar. Ain't nothing wrong with me!
              I'm gon'na fucking kill myself! Charge Mrs. Angel with mur-derrh.W Charge her with mur-derrrWl"
      I text Property Manager Lionel Hines; told him I was praying about calling the Police; and that I didn't
      think Ms. Riddick's teenage son should have to endure her emotional disturbances. After two(2)Police
      officers left her house, she started yelling again (seemingly into a microphone):
              "Carry yo'old-ass upstairs, and go to bed, nosy old bitch! If you carry yo'ass upstairs,
              you won't fucking hear me. GOD hears me, and when I check out of here, it's gon'na
              be yo' motherfucking fault. You gon'na be charged with murder!, nosy old bitch!!!" Go upstairs!"
      I was afraid that the 'bio-polar, schizophrenic' tenant meant the opposite— to shoot at me through the
      wall.                      [see Exhibit 20: Dft's. Threat of False Charges.]

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                                                            2021;
96.                                    False Charges Dismissed against Ms. Angel
Oct. 27, 2021: Va. Delegate Represented Ms. RIddick
      Defendant Riddick was represented in State Court by the same atty. (Delegate Don Scott.) that she reported
      to this U. S. District(on 10/22/21) was recovering from surgery.
      Before and after the State Court judge dismissed ("w///; prejudice") the false charges of"trespassing" and
      "violation of Protective Order" against me, Delegate Scott falsified to the Judge that his client would be
      ''moving out in 2 weeks" However she did not move in 2021. Ms. Riddick actually moved out after a
      Circuit Court judge ordered her to move by August 31,2022. Thank GOD, she did!


97.              2022: Rlddlck's continuous False Charges against Ms. Angel:                 Charges Droppedlll
May 25,2022: Rlddlck's Illegal Gen. Dist. Ct.'Protective Order' against Ms. Angel
        Gen. Duistrict Court Judge (Nicolo) conspired with Delegate Don Scott and his client—complainant
        (Defendant Riddick)-by illegally entering a 'Permanent Protective Order' against Plaintiff, because
        she was recorded by complainant's doorbell camera saying,             "No Justice. No Peace!"
                                                                       [see Exhibit 12: Gen. D.0 Perm. Protec. Or.]
Aug. 23,2022: Rlddlck's Illegal Circuit Ct.'Protective OrdeP against Ms. Angel:
        Magistrate (Griffith) conspired with Delegate Don Scott and his client—complainant (Defendant
        Riddick)—by illegally charging Plaintiff with the crime of 'Violation of Protective Order' because
        complainant alleged that Plaintiff had contacted her after being court-ordered not to do so:
                                                            [see Exhibit 10: Warrant & 'Noiie Pros.'—Vioi.. Protec. Or.']
Sept.. 30,2022: Landlords failed to Obey Court Subpoena:
        Kim Philippi and Chang Philippi failed to obey a 'Subpoena' to appear in Court.
                                                                 Exhibit 17: Angel's'Subpoena for Witnesses."]
Oct. 12,2022: Ms.Angel was Tried and Acquitted of Riddlck's illegal charge:
      The Prosecutor motioned 'nolle prosequi' because,"The State cannot prosecute a citizen for following the law.
          It is a legal requirement to mail a copy of a filed pleading to an unrepresented party."
          Mailing a copy of a required pleading is not a crime\ [see Ex. 10: Wmt. & 'Nolle Pros.'—Viol.. Pro. Or.']

  98. Tn this 3-year 'reign of terror,' Plaintiff has sent numerous text messages and affidavit letters to
      defendants about Tenant's ongoing criminal conduct. The foregoing is only a small sample.
  99. However, the Landlord(s) Philippi responded with insult and threatened Plaintiff when she came
      to their home to report Tenant and failed to obey a court-ordered subpoena. Prop. Mngr. Mines
      repeatedly falsified in Court to cooperate with Del. Scott. Thereby, the landlords and prop,
      mngr. acted in concert when they [cjonspired with Del. Scott and tenant/ client Ameka Riddick.
  100     Defendants had a duty to "exercise reasonable care in their supervision o/Tenant (Ameka
          Riddick)for the prolection ofinnoceni members ofthe public"
  101. The injuries the law-abiding condo owner has suffered are the proximate (direct) result of the
        property manager and landlords conspiring with state actors and breaching their duty: failing to
        protect Plaintiff and failing to control the mentally-ill tenant / client.
  102. Plaintiffs 'prayer' for compensatory, malicious prosecution, emotional distress, and punitive
        damages is based upon factual evidence that the defendants' conduct "evidences a conscious,
         willful, wanton, and reckless disregardfor the rights ofinnocent members ofthe community"

  103. 12/3/21~Plaintiff began outpatient therapy for emotional distress and anxiety due to defendants'
       harassment and malicious prosecution.         [.yee Exhibit 21: Letter from Licensed Counselor] 13
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                                               FACTS
                                    Conspiracy with Portsmouth Police

104. March 18, 2022—Two (2) Ports. Police officers (R. W. Morton and W. F. Carr) knowingly conspired
     with [state actors] Del. Scott and Complainant Riddick by harassing and threatening the Plaintiff.
     They ... : •opened my storm door and walked in without knocking.
                 • disputed and argued with me.       • yelled over me(while I was speaking).
                • publicly implied (to Complainant) that I was insane.
                •threatened to file an officer-initiated 'protective order' against me.
105. Officer Carr opened my storm door and walked into my house without knocking:
     When T objected, he said he was coming to join his partner. Officer Morton defended him by
    saying. It's Okay, Ma'am^ When I responded'7f's nof o/c. This is my housel", Neither officer
    apologized.
106. Officer Morton: made false, judgmental, and defamatory remarks about me-that T was insane
    (to a complaining Neighbor): Because T would not give him my name to issue an ''officer-
     initiated EPO,"^ Officer Morton left my house, went back to the complaining neighbor's front
     yard and listened to her falsify that T had trespassed her front yard (condo elements). The neighbor
    (Def. Riddick) also said T was insane; "She's crazy. She has mental problemsl"
     Officer Morton loudly agreed: "She obviously does\ She obviously does!," as he stared at me.

107. T waived him over to me and told him quietly that T had not been on her property, to which he
    repeatedly shouted,            "Allegedly!, Allegedlyl, Allegedlyl"            while T was still talking.
108 T reported the incidents to the officers' supervisor (Sgt. R. McDaniel). He suggested that T also
    report the misconduct to the Professional Standards Unit.
109. April 3, 2022- T emailed my Complaint to the Ports. Police Chief. T stated that 1 believed both
     Police officers and multiple others were cooperating with Del. Don Scott's retaliation tactics
     because the next door neighbor(Ms. Riddick) is his client.
                                  [see Exhibit 16: Pltfs. Complaint against Police Officers]
110. April 5, 2022~T received an email from the Police Professional Standards Unit. Attached was
     the Police ChieTs 'response letter' admitting that what T reported was true. However, he
     contradicted himself, by stating that the officers' "actions taken were... proper and in compliance ..."
                                   [see Exhibit 22: Police Chiefs Response letter]

111. April 26, 2022-1 emailed a letter to City Manager Angel Jones confirming our 4/27/22 scheduled
    tele-meeting. I detailed my concerns about the Police officers and the Police Chiefs response.
112. April 27. 2022-City Mngr. Jones called me, but we could not meet because her assistant had not
     printed my emailed concerns. Our tele-meeting was rescheduled for June 1, 2022.
113. May 24, 2022~Mysteriousiy, City Mngr. Jones was fired by the Ports. City Council. Later, an
     appointment was scheduled for me to tele-meet with the Interim City Manager (Mimi Teny) on
    June 16, 2022.

114. June 16, 2022: Interim City Mngr. Terry did not call me for our scheduled tele-meeting.
     Her assistant said a new apt. could not be scheduled until the new City Mngr. had been hired.
115. June 30, 2022: A new City Manager (Tonya Chapman)was hired.

116. July 5, 2022: Police Chief(Renado Prince) was fired.
                                                                                                                14
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Consultation with Legal Aid
117. May 24,2022" I consulted with Legal Aid Society of Eastern Virginia about a court summons to
    appear for a ^Petition for Protective Order' filed against me. The Deputy Director (Sarah Black)
    advised: "7/ie Petitioner's complaint does not meet the standards of
                    Va. Code § 19.2-152.10 Protective Order: Prohibiting acts of Violence, Force or Threat.
                    No judge is going to enter a 'protective order' based on suchV
                                                   [see Ex. 23: Riddick's Petition Complaint]
118. Later, the Deputy Director advised:
            "Ifthe Judge grants the Protective Order,go directly to the Clerk's Office and
              appeal it. to the Circuit Court. We 'II be there on the day of the hearing."
119. After T showed her multiple court-dismissed and expunged criminal complaints by Ms. Riddick,
     Deputy Director Black commented: "77i/5 woman is botheringyou\ You 're not botherins her."


                                                     FACTS
                                         Conspiracy with State Judges
Conspiracy FACTS: Judge Nicole
120. May 25, 2022" I appeared [pro se] in Ports. General District Court for a hearing on 'Petition for
    Permanent Protective Order' filed against me. Substitute Judge Anthony Joseph Nicolo presided
     and demonstrated his conspiracy with Delegate Scott and Complainant Ms. Riddick:
121. There is a close nexus and conflict-of-interest between Judge Nicolo and Va. Delegate /'Courts of
     Justice Committee' member Don Scott. They share the same office space.
122. As he presided over the case of actually an [iljlegal 'Petition for Preliminary Protective Order'
     filed against me, Judge Nicolo started the hearing with a harsh warning directed towards me:
                    In this Court we do things one way—my way! Understand?!"
     Indeed Judge Anthony Joseph portrayed himself to be ^ mean Joe GreenV
123. He asked if! were "Joel Angel." T answered,"No. That is not my name." However, he proceeded
     with the case, as if my name or my apprising him did not matter.
124. Actually, the case was/ is a nullity and should have been dismissed because it was brought
    against the wrong person.
125. At the hearing, T explained the following:
    • As advised by Legal Aid of Eastern Va., Ms. Riddick's complaint—"that 1 was recorded on her
         doorbell camera saying,'No Justice; No Peace'"—does not meet the standards of
         Va. Code § 19.2-152.10 Protective Order: Prohibiting acts of Violence, Force or Threat."
    • Ms. Riddick's [iljlegal petition was filed in retaliation because I filed a federal lawsuit against her
         and her attorney, Delegate Don Scott.
    • The exercise of my First Amendment right to "freedom ofspeech" did not hurt anyone.
                                                    [5ee Exhibit 11: Angel's Mot. to Dismiss Protec. Order]
126. Tn a conflict of interest while presiding over the case. Judge Nicolo acted as Ms. Riddick's
     attorney: As T testified that Ms. Riddick trashes my yard and flower garden, the Judge harshly
    interjected (speaking over me), "The wind blows the trash that way\!!"
127. Several days prior to the hearing, T had entered into record multiple defense affidavits:
        •Licensed Counselor's confirmation of my participation in "out-patient-therapy" since Dec. 2021)
         "for emotional distress due to harassment by a next-door neighbor"
                                                    [see Exhibit 21: Letter from Licensed Counselor.]           15
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    •Witness' testimony of Ms. Rlddick cussing, threatening bodily harm, and to            [me]in jail againV
                                          [.sec Exhibit 24: Witness (White's) affidavit of Harassment & Threats]
128. However, Judge Nicole would not allow my witness to testify.
129. Contrary to law, Ms. Riddick did not present evidence of''acts ofviolence,force, or threat
130. Neither did she present a licensed counselor's determination of emotional or psychological
     damage to support her repeated testimony; "I am mentally and physically drained^
131. Ms. Riddick's three (3) witnesses [Propert}' Manager Lionel Hines, her sister (Jasmine Riddick) who
     had cussed and threatened me and her teenage son)] all with head down, facing the floor mumbled
     low volume statements that T could hardly understand, as T stood 7 feet away.
                                           [see Exhibit 25: Riddick's Witness List]
132. Unjustly, the Substitute Judge abused his discretion and declared a horrific 'Permanent Protective
     Order' against me: I'm entering a Permanent Protective Order against you\"
     When T asked: "For how longlf he roared, "For two (2) years^"
133. Ultimately, his ruling confirmed his harsh, arrogant and corrupt opening remarks:
                      "In this Court we do things one way—my way! Understand?!"
134. Tt is obvious that Judge Nicolo was conspiring with Delegate Don Scott, to rule for his client, and
     that he was wearing an electronic listening device to hear and obey Del. Scott's instructions.
135. Clearly Judge Nicolo demonstrated behavior beneath the dignity of a State court judge.
    Per The Virginia Canons of Judicial Conduct:
           "The [judges' rulings] should be applied consistent with constitutional
                statutes, other court rules and decisional law ..." (Preamble)
            A judge shall respect and comply with the law."(Canon 2 A.)
          "A Judge shall be patient, dignified and courteous to litioants. jurors, witnesses,
                lawyers and others ..."(Canon 3 B(4).)
136. Afterwards, T obeyed the Legal Aid Deputy Director's prior advice:
           "Go directly to the Clerk's Office and appeal i to the Circuit Court.
             We 7/ be there on the day of the hearing."
137. Days later, T spoke with a victim of actual domestic violence that occurred in Portsmouth several
     years ago. In contrast, she was granted only a 1-year 'Permanent Protective Order.'
                                              [5^^ Exhibit 12: Gen. D, Ct.-Perm. Protec. Order against Angel]

Conspiracy FACTS: Judge Melvin (1^*)
138. June 6. 2022—At the appeal hearing before Circuit Court, I was represented by a Legal Aid Staff
     Atty. (Floyd Oliver). My witness was also present. All of the documents that 1 had submitted to
     the Gen. Dist. Ct. had been transferred to the Circuit Court record. Judge Kenneth Melvin, presided
     and demonstrated his conspiracy with Del. Scott and Ms. Riddick, who appeared [pro se].
139. Throughout the hearing, Judge Melvin displayed the personality and disposition oi'Callous Kenny.'
140. At the onset. Legal Aid requested to "dismiss (or remove) the protective order'^ because it was
    "not based on the legal requirements under law." However, Judge Melvin emphatically declined.
141. While Ms. Riddick was on the witness stand, the Legal Aid attorney asked if she had ever felt
     physically threatened by Ms. Angel's statement—"No Justice, No Peace." "She answered "No."

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142. However, she repeated the same baseless argument: "/ am mentally and physically drained^''
     because Ms. Angel had said, 'Wo Justice: No Peace^^    recorded by her doorbell camera.
143. On the witness stand, T testified that Ms. Riddick constantly yells and cusses at me, outside and
     through the wall, ""A protective order is too easyfor her to lie by saying I violated it.
                          That is what she did in October 2021, but thank GOD, it was dismissed.
                          That offense carriesjail timel Ms. Riddick has escalated her retaliation
                          by cussing at me when guest visit my home.'''
144. My witness (Felix White) testified about Ms. Riddick's April 25, 2022 harassment and threats:
       "^5 Ms. Angel and her guest exited our cars, Ms. Riddick began yelling, cussing,
          and complaining that Ms. Angel was suing her in court. She called herfilthy names,
          said she was going to 'get her!'and 'put her ass in jail again!'
          As we ignored her,.she turned her back to us, pulled up her clothes and exposed herself
          then patted her behind.'"         Exhibit 24: Witness (White's) Affidavit of Harassment & Threats]

145. Ms. Riddick did not contest or deny Mr. White's testimony—surprisingly not even the segment
     concerning 'exposing her buttocks and patting it.'
146. In Stamper v. Commonwealth (Va. Sup. Ct 1985), the Virginia Supreme Court ruled:
                                 "There is no sliding scale for insanity plea."
147. My witness was credible compared to Ms. Riddick's 3 witnesses (in Gen. Dist. Ct. hearing) whose
     testimonies lacked credibility, and could not be understood, as 1 stood no more than 7 feet away.
148. Contrary to law, Ms, Riddick did not present evidence ofacts ofviolence,force, or threat!"
149. Neither did she submit a licensed counselor's determination of emotional or psychological
     damage to support her repeated and baseless testimony: "/am mentally and physically drained^
150. Unjustly, the Judge abused his discretion by emphatically declining to dismiss the protective order.
151. In an irritated tone, he reprimanded the Legal Aid attorney for requesting it (seemingly for a 2"'^ time):
      "The 'protective order' stays! If you don't like it, you can just appeal it to the Court ofAppealsV
152. Then he falsified:       "These ladies are enemies. They could hurt each other.
                              They could kill each other. This 'protective order' staysl"
                                  [see Exhibit 13: Cir. Ct.-Perm. Protec. Or.].]
153. T was shocked and offended that a judge would proffer such scandal! T have never testified
     verbally or in writing that Ms. Riddick was my enemy, nor that I intended to harm her. She has
     never stated (verbally or in writing) or yelled outside that I physically threatened her or that she
    feared for physical safety, She has never alleged such in her complaints!
154. It is obvious that Judge Melvin was conspiring with Delegate Don Scott, to rule for his client, and
     that he was wearing an electronic listening device to hear Del. Scott's instructions during trial.
155. Clearly Judge Melvin demonstrated behavior beneath the dignity of a State court judge.
    Per The VirQlnia Canons of Judicial Conduct: A judge shall respect and comply with the law."(Canon 2 A.)

156. Equally obvious is the close nexus and conflict-of-interest between Judge Melvin and Delegate /
     'Courts of Justice Committee' member Don Scott. It is print-publicized that both are active
     participants, 'honorable judicial members,' and/ or featured presenters in the Old Dominion Bar
    Association.
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    Conspiracy FACTS: Judge Holder
157. June 23, 2022 -My 'Petition for Permanent Protective Order' filed against Ameka Riddick
     was heard in Portsmouth General District Court. Chief Judge Roxie O. Holder presided and
     demonstrated her conspiracy with Delegate Scott and Complainant Ameka Riddick:
158. My complaint states:
        "I am seeking my 5''' andI4ih Amendment constitutional rights to "due process"and "equal
          protection under the law." Ms. Riddick has threatened to beat and shoot me many times.
          On April 25, 2022 Ms. Riddick cussed at me and threatened to beat me in the presence of
          3people visiting my home. 1 want a permanent protective order against her.''
                                        Exhibit 14: Angel's Pet. for Protec. Or.]
159. Ms. Riddick and T appeared [pro sej. No witness was present for Angel or Riddick.
160. For my opening statement, I acknowledged that my witness was not present. Then 1 read my
    complaint: ''Now that Ms. Riddick has obtained a 'permanent protective order'against me,
                it is too easy for her to lie that I violated it as she did last year, but thank GOD
                 it was dismissed, because she could not prove it!
                 However, I have a legal right to be granted a protective order against her.

161. Ms. Riddick repeated the same baseless argument: "/ am mentally and physically drained,"
    because T had said      "No Justice; No Peace"                   recorded on her doorbell camera.

162. Brazenly, she entertained the Judge by playing a recording of herself cussing at me and my guest.
     The Judge listened patiently, as if she enjoyed it. Judge Holder displayed the personality of
     'Rottweiler for Delegate Scott' because she tenaciously obeyed him.
163. However,the recording confirmed my complaint and justification for the 'protective order.'
164. Ms. Riddick did not present a licensed counselor's determination of psychological or emotional
    damage to support her repeated and baseless testimony: "I am mentally and physically drained\"
165. Additionally, Ms. Riddick alleged that she was "moving[from her residence] in August[2022]."
166. When T told Judge Holder that Ms. Riddick and her attorney (Don Scott) had lied in Court in
    October 2021~making the same false assertion—Ms. Riddick responded,
                              "I'm moving this time. I have approval now."
167. As Ms. Riddick repeatedly lied, 1 softly objected with one word—"Objection." Judge Holder
     harshly rebuked me—"Be quiet] 1 turned to face her directly to show my compliance, but she
    sternly repeated it—'Be quiet]"
168. The Chief Judge's rebuke constitutes 'obstruction ofjustice:' Per the Rules of the Supreme Court
     of Virginia, as an 'officer of the court,' T have a legal right to object.
169. Inequitably, Judge Holder demonstrated her bias and prejudice when she held Ms. Riddick's cell
     phone, studied her video for at least 3 minutes, while making comments. However, she refused
     to hold my cell phone to see my photo evidence: When 1 tried to show her the photos on my cell
    phone and extended it, she tersely remarked,"I can see it from here]"
170. Unjustly, Judge Holder abused her discretion and demonstrated intentional bias by the following
    ruling. With a facetious grin, she said:    "Ms. Angel, you're not going to like my decision.
                            I believe your petition is in retaliation to Ms. Riddick's protective order.
                            So I am not going to grant you a protective order. This case is dismissed."
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171. Before the Judge dismissed the case, she did nm ask me if I had objections or concerns. However, it
     is extremely necessary that judges rule equitably and consistent with the law.
172. Judge Holder's decision confirms that she denied me ''equal(realment under the /aw."
173. The Chief Judge committed egregious constitutional errors by denying my       and
    Amendment rights to a 'protective order.' Tt is a denial of my 'due process' and "equal
     protection ofthe law."          [see Exhibit 15: Judge Holder's Denial of Protec. Or.]
174. Tt is obvious that Judge Holder was conspiring with Delegate Don Scott, to rule for his client, and
     that she was wearing an electronic listening device to hear his instructions during the trial.
175. Clearly the Chief Judge demonstrated behavior beneath the dignity of a State court judge:
176. Equally obvious is the close nexus and conflict-of-interest between Chief Judge Holder and
     Va. Delegate—Courts of Justice Committee member—Don Scott. Tt is publicized in print that both
     are active participants, 'honorable judicial members,' and/ or featured presenters in the Old
    Dominion Bar Association.
Letter from & Consultation with Legal Aid;
177. July 9, 2022~T received a letter from Legal Aid Staff Attorney Floyd Oliver (dated 7/6/22) "noticing''
    me that he was "closing my file" He also clarified the consequences of Judge Melvin's 6/6/22
    refusal to dismiss the 'protective order' against me.   [see Exhibit 26: Letter from Legal Aid]
178. Aug. 19, 2022~Per the advice of the Legal Aid attorney, Ms. Angel motioned to amend (terminate) the
    'Permanent Protective Order' because Ms. Riddick had to comply with the Judge's Order to:
         "Relocate by the end of August or face 5 years in jail for lying under oath:"
179. Ms. Angel contended that because she did not know Ms. Riddick's new address,
             "[she] could not possibly have contact with her. Therefore, the Protective Order is useless."
                                  [s"ee Exhibit 27: 'Motion to Amend Protective Order'(p. 1, UK 1-3).]
Conspiracy FACTS: Judge Melvin (2"^) - 'Kangaroo Court'^ to violate the Law:
180. Sept. 30, 2022—At the hearing. Judge Kenneth Melvin presided and demonstrated his conspiracy
     with Delegate Scott and Complainant Ameka Riddick. He conducted a 'Kangaroo Court' ^
    to dismiss Ms. Angel's 'Motion to Amend Protective Order." Plaintiff and Defendant appeared pro se:
181. Tnitially, Judge Melvin denied me the right to question Ms. Riddick and the only subpoenaed
     witness present, although T had filed a "Request to Subpoena" 3 Witnesses.
                                          Exhibit 17: Angel's'Subpoena for Witnesses.']

182. After he allowed Ms. Riddick to plead for the protective order to remain in force, the Judge
     angrily denied my Motion to Amend. Then he hastily dismissed Court and tapped the gavel.
183. To my objection that T had subpoenaed witnesses, he harshly reprimanded me:
                              "Did you hear what I said? This case is dismissed 1"
184. After all litigants had left the Courtroom and we were walking toward the elevator, the Bailiff
     stepped out of the Courtroom and called us back into the Courtroom at the Judge's request.
185. Judge Melvin specified that T could only interview witness Lionel Hines, but not Ms. Riddick.


   A mock court In which the principles of law and justice are disregarded or perverted.
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186. As I questioned Mr. Mines, the Judge illegally acted as his and Ms. Riddick's attorney by stating:
     "I'm not going to let him answer that]" to at least 4 of my questions (although no one had objected).
187. Lionel Mines lied profusely about: • his job duties as the 'operations manager' for Charlestowne
    Condominiums, - the date Ms. Riddick moved out, and -the date that his new tenants moved in.

188. After Judge Melvin's bias performance, he denied my Motion and told me not to mail another
     document to Ms. Riddick [although I do not know where she lives].
189. Inappropriately, he told me: "/£?// the Clerk to direct to /we" any future copies of motions or
     pleadings required to be sent to Ms. Riddick.
190. Then he dismissed Court the second time.

191. Obviously Judge Melvin was conspiring with Delegate Scott, to rule for his client, and he was
     wearing an electronic listening device to obey his instructions during the trial.
192. Oct. 13, 2022-13 days after the hearing and because I persistently requested. Judge Melvin signed the
     Order to officially dismiss my 'Motion to Terminate Protective Order.'
                                             [see Exhibit 28:: 'Order denying Motion to Terminate Protective Order'.]

FACTS: Prosecution refused to Prosecute
193. Aug. 30. 2022,—Plaintiff was arrested for Ms. Riddick's falsified 'Violation of a Protective Order.'
     because she had followed the law and mailed her a copy of the 'Motion to Terminate Protective
     Order,' as the Court and law require.
194. Sept. 2, 2022—Plaintiff was arraigned in Gen. District Court for that falsified 'Violation of
    Protective Order.'

195. Oct. 12, 2022-Tn the Ports. Gen. District Court hearing, Plaintiff was represented by a Public
    Defender. The Prosecutor motioned "nolle prosequl' because no crime had been committed.
    Thus, the case was dismissed.       [see Exhibit 10 : Warrant & 'Nolle Pros.'—Viol.. Protec. Or.']

Conspiracy FACTS: Judge Chong — Another 'Kangaroo Court'^
196. Oct. 12, 2022—Judge Polly Chong presided and demonstrated her conspiracy with Del. Scott and
     Complainant Amela Riddick. She conducted another 'Kangaroo Court' in which courtroom
     procedures were disregarded and perverted. However, she ultimately failed to convict Ms. Angel:
197. The criminal hearing for Ms. Angel's 'Viol, of Protec. Or.' was heard in Portsmouth Gen. District
     Court. I was represented by a Public Defender (Tressa Bussio). The Commonwealth Prosecutor
     was George Landry. Ms. Riddick appeared as a witness, I had been charged with "mailing a
    letter'' to a victim after being court-ordered to have "No contact.'"
198. While we waited for the Judge to enter, the Public Defender spoke to me privately outside the
     courtroom. Then the Prosecutor called for Ms. Riddick and spoke to her outside. Ms. Riddick re-
     entered the courtroom visibly angry and mumbled audibly,"She 'II he /)flc^!"-[another false charge.]
199. Judge Ottinger was originally scheduled to preside, but shortly after he entered his courtroom,
    it was announced that the case would be heard in a different courtroom.

200. As usual. Delegate Scott had conspired with Chief Judge Holder to re-assign the case to a
    'substitute Judge' of his choosing. That Judge was Polly Chong.

   A mock court in which the principles of law and justice are disregarded or perverted.
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201. Obviously, Delegate Scott is allowed to judge shop (frequently) and Judge Roxie obeys him
    like a 'Rottweiler.'

202. Immediately after the litigants were 'sworn in,' Judge Chong bypassed allowing the Prosecutor to
    present the case.
203. Seemingly 'parroting' Delegate Scott from an electronic listening device, the Judge
     inappropriately directed her first statement to me (the defendant):
               "Ms. Angel, you are charged with 'violation of a protective order.' How do you plead?"
204. Also unjust: Judge Chong did not state the [sjpecific charge to me (the defendant).
205.'EqiialJustice under the law'requires that the accused be told clearly and specifically what he or
     she is charged with.
206. It was obvious that Judge Chong was: • conspiring with Delegate Scott to rule for his client;
            • pre-occupied with obeying him; and that
            • she was wearing an electronic listening device to 'parrot' his instructions.
207. After I responded ''No!guHtyE the Public Defender assertively, yet politely, redirected the Judge:
                   "Judge, the Commonwealth is prepared to motion "nolle, prosequi."
208. Obviously the Judge could not hide her surprise that she'd been 'caught in-the-wrong' as she responded,
    "Oh\" Then she directed the Prosecutor to present the State's position on the case.
209. The Prosecutor motioned 'nolle prosequi' because,
                "The State cannot incriminate a citizen for following the law. It is a legal
                 requirement to mail a copy of a filed pleading to an unrepresented party,
                 and the defendant has followed that procedure."
210. Ms. Riddick angrily protested by mumbling audibly and forcefully waiving her hand, which set
    off a chain of illegal events:
211. In an apologetic tone. Judge Chong sought to console the witness:
                           "Even as head of the Court, I cannot override the decision
                   of the State or convict, if the State does not recommend a conviction."
212. Then she allowed Ms. Riddick to testify ['testa-lie'] an unrelated, false event that,
            "Ms. Angel has been dhving through the community and waving at my oldest sister."
    Complainant proffered no video evidence or witness to substantiate her baseless claim.
213. Yet immediately, the Judge harshly rebuked me concerning the false testimony, without giving me
    (the accused) a chance to respond:    "Ms. Angel, that protective order is still in force, and you
             had better not say anything else or even waive at Ms. Riddick againi Do you understand?!
214. I acknowledged that I understood.
215. After the trial, T went to the Clerk's office to get a copy of the disposition. T discovered that the
     Judge had hand-written a statement at the bottom of the document. The Judge's statement is not
     clearly printed on the copy that was issued to me.
216. However, the Judge's rebuke, written at the bottom of the case disposition, could potentially/ illegally
     influence a Circuit Court judge to deny (block) my 'Expungement' of that Court record.
217. The foregoing events indicate that Judge Chong conspired with Delegate Scott and Defendant
     Riddick; abused her discretion; and intentionally acted to prevent 'expungement' of my court
    records.                                 [see Exhibit 10 : Warrant & 'Nolle Pros.'—Viol.. Protec. Or.']
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                                                       VIOLATIONS



 218.       • False Claims.                           • Malicious prosecution.                 •False imprisonment
            •Obstruction of justice.                  •Violence                                •Curse & abuse.
            • Disturbing the peace.                  •Property destruction.
            •Conspiracy to interfere with civil rights under 'color of law.'
            •Civil & criminal deprivation of rights under 'color of law.'


219.                    The False Claims Act                 &              Virginia False Claims Law
                        [31 U.S..C. §§ 3729-33]                                          [§8.01-216.3.]

 The False Claims Act(FCA) is the oldest 'qui tarn' law, originally enacted in 1863, but most recently amended in 2009
 and 2010. After the FCA was signed into law, the term "relator" was used to signify a whistleblower.
 In a qui tam'action, a relator brings an action against a person or company on the government's behalf. The
 government, not the relator, is considered the plaintiff. If the govemment succeeds, the relator who brings the action
 will receive a share of the award.

 [If] the United States intervenes, a U.S. attorney will litigate and prosecute the case, and the whistleblower will be a
 party in the case. However, if intervention is declined, the whistleblower has the right to proceed with the lawsuit.
 To state a claim, FCA relators must comply with Rule 9(b) of the Federal Rules of Civil Procedure (FRCP), by stating:
                •the time, place, and contents of the false representations;
                •the facts misrepresented; and
                • what was obtained or given up as a consequence of the fraud.
 A claim must allege;
                •the defendant's actual knowledge of the Information and that
                •the conduct at issue was material.




 220. Tn this [pro sc] Plaintiffs case, the False Claims Act authorizes 'qui tam' actions against parties
      who have defrauded the federal and state govemment. Thus, the Plaintiff affirms that state-actor
      defendants defrauded the govemments(s) via the following specific False Claims:
                • Knowingly makes, uses, or causes to be made or used, a false record or material statement.
                • Submitting claims that falsely certify that defendants have compiled with laws, contract terms,
                      or regulations [under color oflaw].
                • Conspiring with others to make false or fraudulent claims.
                • Conspiring to commit vlolation(s) of any federal or state law.

 221. The state-actor defendants instigated and conspired to "deprive" Plaintiff of her federal and state
      Constitutional rights to "free exercise of religion," "freedom of speech," "due process" and "equal
      protection of the laws" by falsifying multiple criminal charges: ''Speaking a unknown language"
      "Trespassing" and "Violalion{s) ofProtective Orders" State magistrates and judges knowingly
      conspired with Delegate Scott and his client to charge Plaintiff with false crimes and illegally
      arrest her. However, because the false charges were n^ legally justified, they were "dismissed
      with prejudice" The fact that the malicious charges were "dismissed with prejudice" is proof
        there was no 'probable cause.'

 222. July 27, 2021-Plaintiff was unlawfully seized, arrested and fingerprinted for the false crime of
      'Trespassing.' Because she was arrested in the Portsmouth Gen. Dist. Court Clerk's Office,
      she suffered great emotional and mental distress, inconvenience, and loss of enjoyment of life:
        rise in blood pressure, humiliation, embarrassment, shame, great personal trauma, stress, fear, worry about
        facing 12 months in jail, loss of freedom, and injury to her good name. Several Ports. Sheriff Deputies
        still harass and ridicule Plaintiff to others, whenever she appears at the Court security gate.
            [see Ex. 4, 5, 7, 9, & 10: EPO & Warrants for Arrest]                  Exhibits 6&8: Magistrate cmplts.]
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 223.                  Fourth Amendment Malicious Prosecution [under 42 U.S.C. §1983]
     Malicious prosecution Is a common iaw "intentlonai" tort, its elements include:
      (1)the proceeding was brought without probable cause;
      (2)the proceeding was malicious (intentional).
        (3) the prosecution was "terminated in the acquittal or discharge of the accrued."
    This federal statute [4'^ Amendment malicious prosecution case under 42 U.S.C. §1983] allows
    state and local govemment officials to be sued for money damages when they violate constitutional rights.




 224.                       Thompson v. Clark        (U.S. Supreme Court) April 4, 2022
    The U.S. Supreme Court disagreed with the 2"^ Circuit Court of Appeals and held that;
         a Fourth Amendment'malicious prosecution' case may be brought as long as there is no conviction:
        The Supreme Court held that: "To demonstrate a favorable termination of a criminal prosecution
                        in order to bring a Fourth Amendment malicious prosecution case],]
               a plaintiff need only show that his or her prosecution ended without a conviction"
                                                            +



               see [Jordan V. Shands (Supreme Court of Virginia) April 17, 1998]-False imprisonment


225. Notably, Plaintiffs case also started with false reports to law enforcement by a mentallyHll person!

226. The state-actor defendants "intentionally and maliciously" instigated and conspired to deprive
     Plaintiff of her Constitutional rights by falsifying multiple criminal charges against her:
    ''Speaking a unknown language,'' "Trespassing," and "Violation{s) of Protective Orders"
     State Magistrates and Judges knowingly conspired with Delegate Scott and his client to charge
     Plaintiff with false crimes and illegally arrest her. However, because the false charges were not
     legally justified, they were "dismissed with prejudice." The fact that the malicious charges were
    "dismissed with prejudice" is proof there was no 'probable cause'
227. July 27, 2021--Plaintiff was unlawfully seized, arrested and fingerprinted for the false crime of
     'Trespassing.' Because she was arrested in the Portsmouth Gen. Dist. Court Clerk's Office,
     she suffered great emotional and mental distress, inconvenience, and loss of enjoyment of life:
    rise in blood pressure, humiliation, embarrassment, shame, great personal trauma, stress, fear, worry about
    facing 12 months in jail, loss of freedom, and injury to her good name. Several Ports. Sheriff Deputies
    still harass and ridicule Plaintiff to others, whenever she appears at the Court security gate.
           {see Jordan v. Shands(False Imprisonment)]           [see Ex. 4, 5, 7, 9, & 10: EPO & Warrants for Arrest.]
                                                                [see Exhibits 6 & 8: Magistrate cmpits.]



  228.               United States CONSTITUTION & Virginia CONSTITUTION (Bill of Rights)
  First(1®^) Amendment
  Congress shall make no law respecting an establishment of religion, or prohibiting the free exercise thereof,
  or abridging the freedom of speech .. .


229. June 22, 2021--State-actor defendants conspired to violate Plaintiffs First Amendment rights to
    "free exercise of religion" and "freedom of speech" by falsifying a criminal charge for
    "speaking a unknown language as ifshe was cursing me"(that Plaintiff prayed inside her house).
     This contrived violation caused a Va. Chief Magistrate to issue a three-day [3-day] 'Emergency
     Protective Order'(EPO)against Plaintiff.        [see Exhibit 4: Deffs. Emergency Protec. Order.]
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    However, it is not possible that Holy, Biblical PRAYER can constitute crime in the United States:
                              "These signs shall follow them that believe;
                          In My Name ... they shall speak with new tongues."
                                                (Mark 16:17-KJV)
                                   "... anyone who speaks in a tongue
                                  does not speak to people but to GOD."
                                            (1 Corinthians 14:2--NiV)


230. On June 25, 2021 in Portsmouth Gen. Dist. Court, Ms. Riddick filed 'Petition for
     Extension ofProtective Order' (Prel'im. Protective Odr.), alleging the same illegal charge:
                    "speaking an unknown language ... as If she's cursing me."

231. However, in a July 9, 2021 hearing, that 'Petition' was [d]enied because Ms. Angel asserted her
     First Amendment, constitutional rights to "yree exercise of religion''^ and ^freedom of speech.^^
     By denying the 'petition,' the Court affirmed that the 'Emergency Protective Order' and 'Petition
     for Preliminary Protective Order' were violation(s) of the United States Constitution.
                                                             [see Exhibit 5: Denial of'Prelim. Protec. Odr.']




      232.             United States CONSTITUTION & Virginia CONSTITUTION (Bill of Rights)
      Fifth (5''') Amendment
         No person shall be ... nor be deprived of life, liberty, or property, without due process of law;..


233. This section assures that a citizen is entitled to fair treatment through the normal judicial system.
     Due process means that laws must be applied fairly and equally to all people, especially to a
     citizen accused of a crime. Due process is a requirement that United States legal matters be
     resolved according to established rules and principles, and that individuals be treated fairly by
     federal and state governments. Due process applies to both civil and criminal matters. Thus, due
     process requires that^citizens be treated fairlv under the law.

234. The state-actor defendants conspired to "deprive" Plaintiff of her federal and state Constitutional
     rights to "'due process of the /flU'" by falsifving criminal charges of ""Speaking a unknown
     languagef ""Trespassingf and ""Violation{s) ofProtective Orders^^ State magistrates and judges
     knowingly conspired with Delegate Scott and his client to charge Plaintiff with false crimes and
     illegally arrest her. However, because the false charges were n^ legally justified, they were
     ""dismissed with prejudice." The fact that the malicious charges were ""dismissed with prejudice"
    is proof there was no 'probable cause.'

235. July 27, 2021-Plaintiff was unlawfully seized, arrested and fingerprinted for the false crime of
     'Trespassing.' Because she was arrested in the Portsmouth Gen. Dist. Court Clerk's Office,
     she suffered great emotional and mental distress, inconvenience, and loss of enjoyment of life:
    rise in blood pressure, humiliation, embarrassment, shame, great personal trauma, stress, fear, worry about
    facing 12 months in jail, loss of freedom, and injury to her good name. Several Ports. Sheriff Deputies
    still harass and ridicule Plaintiff to others, whenever she appears at the Court security gate.
                                                  [see Ex. 4, 5, 7, 9, & 10: EPO & Warrants for Arrest.]
                                                    [see Exhibits 6 & 8: Magistrate cmplts.j

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     236.               United States CONSTITUTION & Virginia CONSTITUTION (Bill ot Rights)
     Fourteenth (14*^) Amendment
     ... nor shall any state deprive any person of life, liberty, or property, without due process of law; nor deny to
     any person within Its jurisdiction the equal protection of the laws.


237. A federal or state government body must n^ deprive anyone of libertv without ''due process'''
     and/or "equalprotection ofthe laws.'"
238. The state-actor defendants conspired to "deprive" Plaintiff of her federal and state Constitutional
     liberty and rights to "due process" and "equal protection of the laws" by falsifying criminal
     charges of "Speaking a unknown language," "Trespassing^ and "Violation{s) of Protective
     Orders." State magistrates and judges knowingly conspired with Delegate Scott and his client to
     charge Plaintiff with false crimes and illegally arrest her. However, because the false charges
     were n^ legally justified, they were "dismissed with prejudice" The fact that the malicious
     charges were "dismissed with prejudice" is proof there was no 'probable cause.'
239. July 27, 2021-Plaintiff was unlawfully seized, arrested and fingerprinted for the false crime of
    'Trespassing.' Because she was arrested in the Portsmouth Gen. Dist. Court Clerk's Office,
     she suffered great emotional and mental distress, inconvenience, and loss of enjoyment of life:
    rise In blood pressure, humiliation, embarrassment, shame, great personal trauma, stress, fear, worry about
    facing 12 months In Jail, loss of freedom, and Injury to her good name. Several Ports. Sheriff Deputies
    still harass and ridicule Plaintiff to others, whenever she appears at the Court security gate.
                                                 [see Ex. 4, 5, 7, 9, & 10: EPO & Warrants for Arrest.]
                                                       [see Exhibits 6 & 8: Magistrate cmplts.)


        240.                                     42 U.S. Code §1983
                           Civil action for Deprivation of Rights (under color of law)
     Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Territory
     or the District of Columbia, subjects, or causes to be subjected, any citizen of the United States or other person
     within the jurisdiction thereof to the deprivation of any rights, privileges, or Immunities secured by the
     Constitution and laws, shall be liable to the party injured In an action at law, ...


241. This Section provides an individual the right to ^ state government employees and others
    "under color of state law" for civil and Constitutional rights violations.
242. The state-actor defendants conspired to "deprive" Plaintiff of her federal and state Constitutional
     rights "under color of State laws" by falsifying criminal charges of "Speaking a unhiown
     language," "Trespassing," and "Violation{s) ofProtective Orders" State magistrates and judges
     knowingly conspired with Delegate Scott and his client to charge Plaintiff with false crimes and
     illegally arrest her. However, because the false charges were nm legally justified, they were
     "dismissed with prejudice" The fact that the malicious charges were "dismissed with prejudice"
    is proof there was no 'probable cause.'
243. July 27, 2021-Plaintiff was unlawfully seized, arrested and fingerprinted for the false crime of
     'Trespassing.' Because she was arrested in the Portsmouth Gen. Dist. Court Clerk's Office,
     she suffered great emotional and mental distress, inconvenience, and loss of enjoyment of life:
    rise in blood pressure, humiliation, embarrassment, shame, great personal trauma, stress, fear, worry about
    facing 12 months In Jail, loss of freedom, and Injury to her good name. Several Ports. Sheriff Deputies
    still harass and ridicule Plaintiff to others, whenever she appears at the Court security gate.
                                                       [see Ex. 4, 5, 7, 9, & 10: EPO & Warrants for Arrest.]
                                                       [see Exhibits 6 & 8: Magistrate cmplts.]
                                                                                                                          25
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   244.                                            42 U.S. Code §1985
                                        Conspiracy to Interfere with Civil Rights.
                                               (2)Obstructing Justice
... If two or more persons conspire for the purpose of impeding , hindering, obstructing, or defeating, in any
manner, the due course of justice in any State or Temtory, with intent to deny any citizen the equal protections of
the laws, or to injure him or his property for lawfully enforcing or attempting to enforce, the right of any person, to the
equal protection of the laws; ... the party so injured may have an action for the recovery of damages ... against
any one or more of the conspirators.


245. This criminal statute provides a remedy in damages to anyone who is injured in his person or
     property or deprived of a federal right or privilege as a result of an act in furtherance of a
     conspiracy prohibited under any part of Section 1985.
246. The state-actor defendants conspired to "obstruct" Plaintiffs "due course of justice" and
    disregarded her rights to "equal protection of the layvs" by falsifying criminal charges of
    "Speaking a unknown languagef "Trespassing,^^ and "Violation{s) ofProteciive Orders'^ against
     her. State magistrates and judges knowingly conspired with Delegate Scott and his client to
    charge Plaintiff with false crimes and illegally arrest her. However, because the false charges
     were n^ legally justified, they were "dismissed with prejudiced' The fact that the malicious
    charges were "dismissed with prejudice" is proof there was no 'probable cause.'
247. July 27, 2021-Plaintiff was unlawfully seized, arrested and fingerprinted for the false crime of
     'Trespassing.' Because she was arrested in the Portsmouth Gen. Dist. Court Clerk's Office,
     she suffered great emotional and mental distress, inconvenience, and loss of enjoyment of life:
     rise in blood pressure, humiliation, embarrassment, shame, great personal trauma, stress, fear, worry about
     facing 12 months in jail, loss of freedom, and injury to her good name. Several Ports. Sheriff Deputies
     still harass and ridicule Plaintiff to others, whenever she appears at the Court security gate.
                                                   [see Ex. 4, 5, 7, 9, & 10: EPO & Warrants for Arrest.]
                                                       [see Exhibits 6 & 8; Magistrate cmplts.]




 248.                                               18 U.S. Code §241
                                            [criminal] Conspiracy Against Rights

 If two or more persons, conspire, Injure, oppress, threaten, or Intimidate any person In any State or Territory,
Commonwealth, Possession, or District in the free exercise or enjoyment of any right or privilege secured to him by
the Constitution or laws of the United States, or because of his having so exercised the same ... they shall be fined
under this title or Imprisoned no more than ten years or both;


249. This statute makes it unlawful for two or more persons to agree to injure, threaten, or intimidate a
     person in the United States in the "free exercise or enjoyment" of any right or privilege secured by
     the Constitution or laws of the United States or because of his/ her having exercised such a right.
250. The state-actor defendants conspired to "injure and oppress" Plaintiff in the "free exercise" of her
     Constitutional rights by falsifying criminal charges against her: "Speaking a unknown language,"
     "Trespassing," and "Violation{s) ofProteciive Orders" State magistrates and judges knowingly
     conspired with Delegate Scott and his client to charge Plaintiff with false crimes and illegally
     arrest her. However, because the false charges were not legally justified, they were "dismissed
     with prejudice" The fact that the malicious charges were "dismissed with prejudice" is proof
     there was no 'probable cause.'
                                                                                                                       26
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251. July 27, 2021-Plaintiff was unlawfully seized, arrested and fingerprinted for the false crime of
     'Trespassing.' Because she was arrested in the Portsmouth Gen. Dist. Court Clerk's Office,
     she suffered great emotional and mental distress, inconvenience, and loss of enjoyment of life:
    rise in blood pressure, humiliation, embarrassment, shame, great personal trauma, stress, fear, worry about
    facing 12 months in jail, loss of freedom, and injury to her good name. Several Ports. Sheriff Deputies
    still harass and ridicule Plaintiff to others, whenever she appears at the Court security gate.
                                                      [see Ex. 4, 5, 7, 9, & 10: EPO & Warrants for Arrest.]
                                                      [see Exhibits 6 & 8: Magistrate cmplts.j




 252.                                            18 U.S. Code §242
                                   [criminal] Deprivation of Rights Under Color of Law
    Whoever, under color of any law, statute, ordinance, regulation, or custom, willfully subjects any person in
        any State, Territory, Commonwealth, Possession, or District to the deprivation of any rights, privileges, or
        immunities secured or protected by the Constitution or laws of the United States, or to different
        punishments, pains, or penalties, on account of such person being an alien, or by reason of his color, or
        race, than are prescribed for the punishment of citizens, shall be fined under this title or imprisoned ...


253. This section makes it a crime for a person acting under color of any law to willfullv deprive a
     person of a right or privilege protected by the Constitution or laws of the United States.

254. The state-actor defendants conspired to "willfully deprive" Plaintiff of her Constitutional rights
    ""under color ofState law'' by falsifying charges against her: ""Speaking a unknown languagef
     ""Trespassing^ and ""Violation{s) ofProtective Orders" State magistrates and judges knowingly
     conspired with Delegate Scott and his client to charge Plaintiff with false crimes and illegally
     arrest her. However, because the false charges were not legally justified, they were ""dismissed
     with prejudice" The fact that the malicious charges were ""dismissed with prejudice" is proof
    there was no 'probable cause.'

255. July 27, 2021-Plaintiff was unlawfully seized, arrested and fingerprinted. Because she was arrested
     in the Ports. Gen. Dist. Court Clerk's Office, she suffered great emotional and mental distress,
     inconvenience, and loss of enjoyment of life: rise in blood pressure, humiliation, embarrassment,
    shame, great personal trauma, stress, fear, worry about facing up to 12 months in jail, loss of freedom, and
    injury to her good name. Several Ports. Sheriff Deputies still harass and ridicule Plaintiff to others,
    whenever she appears at the Court security gate, [see Ex. 4, 5, 7, 9, 8t 10: EPO & Warrants for Arrest.)
                                                               [see Exhibits 6 & 8: Magistrate cmplts.j


  256.     VA Code § 18.2-461 Falsely Summoning or giving false reports to law-enforcement officials
  It shall be unlawful for any person (i) to knowingly give a false report as to the commission of any crime to any
  law-enforcement official with Intent to mislead; . ..
  Violation of the provisions of this section shall be punishable as a Class 1 misdemeanor. However, if a person
  intentionally . . . calls or summons any law-enforcement official against another pei^on because of his race,
  religious conviction,... the person is guilty of a Class 6 felony.


257. The state-actor defendants conspired and ""knowingly gave false criminal reports to law
    enforcement officers" about the Plaintiff. Defendants falsified many criminal charges against her:
    ""Speaking a unknown language," ""Trespassing," and ""Violation{i) of Protective Orders"
                                                                                                                      27
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    State magistrates and judges knowingly conspired with Delegate Scott and his client to charge
    Plaintiff with false crimes and illegally arrest her. However, because the false charges were n^
    legally justified, they were ^'dismissed with prejudice.'^ The fact that the malicious charges were
    ''dismissed with prejudice''^ is proof there was no 'probable cause.' Moreover, defendants
    misleadingly summoned law enforcement officers against Pltf. because she ^''freely exercised her
    religion.'' Thus, all conspiring state-actors are guilty of Class 6 felonies:
258. July 27, 2021-Plaintiff was unlawfully seized, arrested and fingerprinted for the false crime of
     'Trespassing.' Because she was arrested in the Portsmouth Gen. Dist. Court Clerk's Office,
     she suffered great emotional and mental distress, inconvenience, and loss of enjoyment of life:
    rise in biood pressure, humiliation, embarrassment, shame, great personal trauma, stress, fear, worry about
    facing 12 months in jail, loss of freedom, and injury to her good name. Several Ports. Sheriff Deputies
    still harass and ridicule Plaintiff to others, whenever she appears at the Court security gate.
                                                   [see Ex. 4, 5, 7, 9, & 10: EPO & Warrants for Arrest.]
                                                   [see Exhibits 6 & 8: Magistrate cmplts.]



 259.                       Va. Code 18.2-22 Conspiracy to Commit Felony
   If any person shall conspire, confederate or combine with another, either within or outside the Commonwealth,
 tocommit a felony within the Commonwealth, ... he shall be guilty of a felony; ...


260. The state-actor defendants "conspired within the Commonwealth to commit felonies" against the
     Plaintiff. They falsified the following criminal charges: "Speaking a imhwwn language^
     "Trespassing," and multiple "Violation{s) of Protective Orders.              Moreover, defendants
     intentionally summoned Commonwealth law-enforcement officers to arrest the law-abiding
     citizen for false crimes. Thus, all conspiring state-actor defendants are guilty offelonies.
261. July 27, 2021-Plaintiff was unlawfully seized, arrested and fingerprinted for the false crime of
     'Trespassing.' Because she was arrested in the Portsmouth Gen. Dist. Court Clerk's Office,
     she suffered great emotional and mental distress, inconvenience, and loss of enjoyment of life:
    rise In blood pressure, humiliation, embarrassment, shame, great personal trauma, stress, fear, worry about
    facing 12 months in jail, loss of freedom, and Injury to her good name. Several Ports. Sheriff Deputies
    still harass and ridicule Plaintiff to others, whenever she appears at the Court security gate.
                                                  [see Ex, 4, 5, 7, 9, & 10: EPO & Warrants for Arrest.]
                                                  [see Exhibits 6 & 8: Magistrate cmplts.]




 262.                       VA Code § 18.2-460. Obstructing Justice; penalty
  D.     Any person who knowingly and willfully makes any materially false statement or representation to a
         law-enforcement officer ... is guilty of a Class 1 misdemeanor.


263, The state-actor defendants conspired and "willfidly made material false statements" to law-
     enforcement officers about Plaintiff. They falsified the following criminal charges: "Speaking a
    unkiiown language'' "Trespassing," and multiple "Violation{s) of Protective Orders. By the
    foregoing violations, defendants intentionally "obstructed the Plaintiffs justice." Thus, all
    conspiring state-actor defendants are guilty of Class 1 misdemeanors.
                                                                                                              28
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264. July 27, 2021-Plaintiff was unlawfully seized, arrested and fingerprinted for the false crime of
     'Trespassing.' Because she was arrested in the Portsmouth Gen. Dist. Court Clerk's Office,
     she suffered great emotional and mental distress, inconvenience, and loss of enjoyment of life:
    rise In blood pressure, humiliation, embarrassment, shame, great personal trauma, stress, fear, worry about
    facing 12 months In jail, loss of freedom, and injury to her good name. Several Ports. Sheriff Deputies
    still harass and ridicule Plaintiff to others, whenever she appears at the Court security gate.
                                                        [see Ex. 4, 5, 7, 9, & 10: EPO & Warrants for Arrest]
                                                        [see Exhibits 6 & 8: Magistrate cmplts.]


 265.                              VA Code § 18.2-137 Injuring, etc., any Property:
        A. If any person unlawfully destroys, defaces, damages, or removes without the intent to steal
           any property, real or personal, not his own, ...he shall be guilty of a class 3 misdemeanor, ...

266. The state-actor defendants conspired with Delegate Scott and his client to ^^imlawfidly destroy,
     deface, and damage" Plaintiffs flower garden. Thus, all conspiring state-actor defendants are
     guilty of Class 3 misdemeanors:    (i-ee FACTS, p. 11 ) [jce Exhibit 29: Landscaping Estimate]
267. April 19, 2020: while loud talking to her friends, Def. Riddick pulled up flowers in Ms. Angel's left
     front flower bed. Plaintiff text the Property Manager (Def. Mines) that she would be filing Court
    complaints against him & Landlord Philippi.
268. June 10, 2020: Tenant pulled up numerous flowers from Plaintiffs left and right front flower bed
    and threw them (with attached dirt) onto Plaintiffs walkway and both flower beds. Because
    Plaintiff discovered the destruction at night, she walked in the dirt, tracked it in her home, and
    soiled her ceramic tile floor and carpet.          Police obtained Testimonv:
    (11:48 p.m.) Police officer arrived, went next door & spoke w/ Tenant. He asked if she had pulled
    up the flowers next door and threw them on the neighbor's property. Def. Riddick confessed,
         Because XJtey were on my side"


   269.                    VA Code § 18.2-416 Punishment for Abusive Language to another.
   If any person Shall, in the presence or hearing of another, curse or abuse such other person, or use any violent
   abusive language to such person concerning himself or any of his relations, or otherwise use such language,
   under circumstances reasonably calculated to provoke a breach of the peace, he shall be guilty of a Class 3
    misdemeanor.


270. Defendant Riddick frequently yelled profanity at Plaintiff Angel from inside and outside
    defendant's condo unit.              [see facts, pp. io -12)
                                                     [see Exhibit 20: PItfs, Affidavit-Threat of False Charges.]
271. Defendant Riddick and her family members (Sister & daughter) frequently '"cussed at," abused, and
    "used violent language" towards Plaintiff"/o provoke breach ofthe peace"
        (iee FACTS, pp. 11 -12, H H 92 (a). & 92 (b.)       Exhibit 19; Witness'(Parker's') account of Harassment.]
272. June 23, 2022~Ms. Riddick entertained a Chief Judge with a video of herself cussing at
     Plaintiff and her guest (in front of Plaintiffs house), {see FACTS, p. 18, If If 161. & 162.)
     Thus, all conspiring state-actor defendants are guilty of Class 3 misdemeanors.
273. For three (3) years, the conspiring state-actor defendants have "breached their duty" to Plaintiff.
     Consequentially, this law-abiding citizen has suffered repeated harassment: abusive language,
     violent threats, malicious prosecution, and false arrests.
                                                                                                                      29
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                                           274.       Lawyer Malpractice:
                                            Va. State Bar Professional Guidelines:
                                                     Rule 8.4 Misconduct


                               Gunter V. Virginia State Bar (Annotated Case) 385 S.E.2d 597]
                           Supreme Court of Virginia Record No. 890473. November 10,1989:
               a lawyer shall not "[ejngage in conduct involving dishonesty, fraud, deceit, or misrepresentation
                   which reflects adversely on a /awyer's fitness to practice law."


Attorney I Client Collusion & Liability
 a. The law firms of 'Don Scott Law, PLLC (VSB Entity Reg. # 96847) & 'Breight Biniazan, PC (VSB Entity Reg.#
    80081) practice law in the following areas: civil rights, employment & workforce, personal injury, real estate,
    family law and/ or criminal justice.

 b. Virginia Delegate Scott recently represented Ameka Riddick in her family's 'wrongful death' lawsuit
       against the City of Portsmouth, Va.(during Sept. 2017 - Sept. 2021).
 c. Delegate Scott is aware of Defendant Riddick's emotional, psychological / behavioral health disorders.
 d. Delegate Scott is aware ofthe defendants' business dealings with Charlestowne Condominium Association.
 Via the foregoing Law Firms:
 e. Delegate Scott has participated in legal and illegal decisions regarding Charlestowne Gondo unit owners.
 f. Delegate Scott influenced State magistrates to charge Plaintiff Angel with false crimes.
 g. Delegate Scott influenced (participated in) State-court judicial decisions regarding Plaintiff.
 h. Delegate Scott has advised or counseled Defendants not to answer the Plaintiffs calls, texts, or letters
        regarding Tenant harassment / injury.
 i. Delegate Scott has advised or counseled Defendants not to answer Plaintiffs [oral or written]
        complaints regarding Tenant harassment / injury.
 j. Defendants persisted in harming Plaintiff, with the cooperation, assistance, advice, and instruction
        of Delegate Don Scott.
k. Consequently Delegate Scott advised, advocated, urged and/ or supported the individual defendants
      and their enterprises in tortious conduct and criminal act(s) against the Plaintiff.
 1. Delegate Scott influenced a Portsmouth Police officer (Shelton Gonzaies) not to appear in Court to be
            a witness, although she had been subpoenaed by Plaintiff.
m. Delegate Scott influenced Defendant Landlords n^ to appear in Court to be witnesses, although they
               had been subpoenaed by Plaintiff.
 n.. Delegate Scott advised defendants not to disclose receiving legal service or assistance concerning
        the foregoing acts.
 0. Via the foresaid law firms, Delegate Scott participated in secondary liability arising from a concerted
        action.

 p. Defendants believe their decisions and actions were justified because they followed the advice of
       a Virginia 'Courts of Justice' Committee member.


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                                                 CONCLUSION


275. WHERFEFORE, the [pro se] Plaintiff has told the 'painful truth' and 'harsh reality' of 'political
     corruption' and [state actor] conspiracy, while this law-abiding citizen continues to receive a
     barrage offalse claims and malicious prosecution(s):
      • False Claims.                             • Malicious prosecution.             • False imprisonment
      •Obstruction of justice.                    .Violence                            .Curse & abuse.
      • Disturbing the peace.                     • Property destruction.
      •Conspiracy to interfere with civil rights under 'color of law.'
      •Civil & criminal deprivation of rights under 'color of law.'
      • Plaintiff was stalked & assaulted!         •Shots were fired near my backdoor(1/11/23)1
    Clearly the conspiring defendants have abused the justice system by violating the U.S. and
    Virginia Constitution(s) and federal and state laws.

276. Defendants knew and still know their tenant/ client (Riddick) is dangerous and mentally ill. Her
     criminal background includes violent charges: •2003 Brandishing a firearm.•2003 Assault & Battery.
277. On two (2) occasions (July 17, '20 and Oct. 1, '21), Ms. Riddick threatened to kill Plaintiff and
     file more false charges.              [see Exhibit 20: PItfs. Affidavit-Threat of False Charges.]
278. On Sept. 28, 2021, Ms. Riddick yelled her mental health condition outside, as she cussed at
    the Plaintiff:      "... I'm bi-polarand schizophrBnic, and they ain't gon'do nothing to me\ ..."

279. The disclosure suggests that her mental disorder(s) excuse her illegal conduct, but legally they do
     not. '^There is no sliding scalefor insanity plea [Stamperv. Commonwealth ... (Va. Sup. Ct. 1985)].
280. Notwithstanding, 'abusing the justice system'-devising criminal infractions, instigating and
     conspiring with police, magistrates, and judges—is much too sophisticated for her intellect, lack of
     legal expertise, academic skills, and/or social influence. These factors point to the skilled legal
    assistance that she boasted and warned of on July 24, 2020: "Mr. Don Scott is my lawyer,... I"

281. Ms. Riddick's lawyer and 'partner in crime' is Va. Delegate Don Scott. He abuses his State
    office to cloak his misconduct and influence of State court officers and law enforcement. Most
    significantly. Delegate Scott has become a state actor in 'organized crime' via [h]is conspiracy
    and malicious prosecution.
282. Delegate Scott has positioned himself as an enemy to Plaintiff Angel. Accordingly, she has filed
    "Courtroom & Court Building Misconduct" complaints (including 6 "Addendums") with the Ports. Sheriff
     and Circuit Court Chief Judge. Her complaint(s) detail the conspiracy and influence of Delegate
     Don Scott and how he wields his influence as a weapon against her, to the extent that Judges bow
    to his influence!                        [see Exhibit 3: [l"]Courtroom & Court Bldg. Misconduct Complaint]
283. Plaintiffs neighbors are now speaking fear that befriending her may cause the mentally-ill tenant/
     client to falsify crimes against them, especially those who have submitted witness affidavits.
                                             [see Exhibit 30: PItfs. Affidavit-Harassment of Witness]
284. Even worse. Plaintiff remains emotionally distressed and continues anxiety counseling, due to
     the Tenant's Oct. 7, 2021 retaliatory threat - yelling through the wall that she was ^'going to blow
    [her own] brains out'''' and cause Plaintiff to be ^^charged with murderV Only GOD Almighty
     knows if the next door tenant intended the opposite - to "shoot me through the wail."
                                             [.vce Exhibit 21: Letter from Licensed Counselor.]

285. Def. Riddick's disclosures reveal that she is dangerous and mentally ill. Combined with her
     criminal acts against Plaintiff, it is obvious that she is a threat to herself and society. Thus, for
     her own protection and that of society, she should be confined to federal prison with the others.
                                                                                                                 31
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286. Life-threatening retaliation and imminent physical danger have begun:
        •Sheriff Deputies heinously assaulted and stalked me (in a State Courtroom).
        •Delegate Scott's truant gangsters recently fired shots near my backdoor!(January 11, 2023)
           I reported it to the Police.
287. Assuredly, no 'ex-felon' plans to return to federal prison without a fight (resistance and retaliation).
     Accordingly, Delegate Scott and his agents [pawns and judicial puppets] are armed and dangerous!
288. Thus, Plaintiff pleads for federal security. The State is being seized!!! State agencies are proving
     subject to Delegate Scott's conspiracy and influence.
289. The conspiring defendants have ^'breached their duty ofcare" to the Plaintiff by,
                            "... failing to protect her and failing to control
     Ms. Riddick and Delegate Scott. Rather, they advised, aided, and abetted the partners-in-crime.
            [Deik V. Columbia Healthcare ...(Sup. Ct. Va. 2000)1; [Dudley v. Offender Aid ...(Sup. Ct. Va. 1991)].

290. Federal and state law declare, sustain, and render the conduct all of conspiring defendants
     as evidence:       "conscious, willful, wanton, and reckless disregard for
                           [Plaintiff's] rights, as an innocent member of the community."
291. The state-actor, instigating Delegate is deliberately violating the very laws he legislates.
292. Consequently, all conspiring defendants are liable for 3 years of continuous harm and injury
     inflicted upon the Plaintiff. Accordingly, they must be found: liable of civil charges, guilty and
     convicted of all criminal charges, imprisoned, and ordered to pay damages.
293. Make them public examples to deter political corruption and end this 'reign of terror!'
294. Only the United States Court(s) can end this reign of terror! The Commonwealth cannot
     adequately protect its citizens or [pjrosecute state actors when the perpetrators are legally justified
     within its jurisdiction.
295. The U. S. Constitution and American democracy must be preserved! Thus, truth must be told,
     and justice must be served.
296. Please investigate. My life is at risk: • Sheriff Deputies stalked and assaulted me (in a State Court)!
     • On Jan. 11,2023, Delegate Scott's gangster truants fired shots near my backdoor!!!

297.                                            Thompson v. Clark
                Supreme Court of the United States        No. 20-659.             (decided April 4,2022)

 "The American tort-law consensus as of 1871 did not require a plaintiff in a malicious prosecution suit to show
that his prosecution ended with an affirmative indication of innocence, and this Court similarly construes
Thompson's Fourth Amendment claim under §1983 for malicious prosecution. Doing so is consistent with
"the values and purposes" of the Fourth Amendment. [Manuel, 580 u. S., at 370]."



298.                                             Jordan v. Shands
               Supreme Court of Virginia:            Record No. 971316.         (decided: April 17, 1998)
We agree with the plaintiff. We have defined false Imprisonment as "the direct restraint by one person of the
physical liberty of another without adequate legal justification." [W.T. Grant Co. v. Owens, 149 Va. 906, 921, 141 S.E.
860, 865 (1928)]. We have also observed that "[fjalse imprisonment is a wrong akin to the wrongs of assault and
battery, and consists in imposing by force or threats an unlawful restraint upon a man's freedom of locomotion."
                            [Id. (quoting Gillingham v. Ohio River Ry. Co., 35\A/.Va. 588, 14 S.E. 243, 245(1891)].
                                                                                                                     32
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                                                  PRAYER for Relief
299.


The [pro se] Plaintiff requests this Court to enter judgment against the conspiring defendants
(each ofthem) pursuant to the foregoing violations and claims. Make her whole:

                                                               +

                                                         +           +

     I plead for immediate federal security and protection!!! Defendants and their agents are armed
     and dangerous! • I have been stalked and assaulted (in State Court).
                      • Delegate Scott's gangster truants have fired shots near my backdoor!!!


A.     Court Costs.                                                                                      $        402.
B.     Printing Cost.                                                                                             500.
0. Compensatory damages (including landscaping & property destruction).                                          3,000.
D.     Malicious prosecution; False arrests; Obstruction of Justice:
              [False imprisonment, without probable cause. ]                              ['2 Million.] =    2,000,000.
E.     Emotional distress damages:
              [Mental anguish, humiliation; Emotional pain & anxiety due to violence,];
              [Plaintiff is currently undergoing emotional distress/anxiety counseling]   [® 2 Million.] =   2,000,000.
F.     Punitive damages
              (Intentional, reckless & grossly negligent conduct).                 [® 3 Hundred fifty thousand.] 350,000.

G.     TREBLE damages (under the False Claims Act).                         [® 13 Million, 62 thousand] =    13,062,000.
H.     Declare a 'court-ordered freeze' on [defendants'] corporate and personal assets
               (except for the Commonwealth of Virginia).
1.     Prosecute defendants pursuant to civil and criminal law.
J.     Award Plaintiff the defendants' condo unit [1629 Darren Circle] to prevent their future retaliation
                    via another deranged, malicious / vindictive tenant.
            Presently, that condo unit is in need of significant repair:
                  •Roof needs replacing. Box vents are missing. Thus, the attic and ceiling
                    are exposed to weather. Squirrels have gained access and are inhabiting the attic.

K. Cease government funding to Tenant and her caregiver Sister(Jasmine E. Riddick).
         They should not be paid government funds to constantly violate the law.
L Order Child Protective Services to protect Tenant's teenage son from being psychologically
         abused and emotionally traumatized, by being forced to live with a parent who displays
             [criminal] and mentally-ill symptoms ~ constant erratic behavior and emotional instability.

300. Plaintiff reserves the right to amend this Complaint and Exhibits at any time, up to and inclu
        ding the day of trial, whether by order ofthe Court or pursuant to Supreme Court rules.
301. Plaintiff also reserves the right to present other evidence, documentary or otherwise as rebuttal,
        at any time up to and including the day of trial.
302. Def. Ameka Riddick was recently awarded
                                           ' 500,000. in a court settlement with the City of
          Portsmouth, VA. On Sept. 20, 2021, that news was broadcast on local TV news stations.

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                                                        36
                                                   Affidavit Declaration

                               28 use § 1746 Unsworn Declarations under Penalty of Perjury

       I swear (affirm) under penalty of perjury that the statements made in this Complaint [Affidavit] are true and
       correct to the best of my knowledge.



Respectfully submitted,              this        2T       day of      January        2023.



By


            Joeile Joy Angel
            1631 Darren Circle /   Portsmouth, VA 23701
               (434) 532-2682                                V Plaintiff                Plaintiffs' Attorney




                                                 Ghostwriting Certificate


I certify that I did not receive help from an attorney(on this earth) in preparing this document,
                                      only GOD the righteous Judge. (Psalm 7:11; John 7:24)



                                                  Certificate of Service


I certify that a copy of the Complaint [Affidavit] was delivered to the Clerk of Court and served on the United States
Attorney and United States:




                                                                                   United States Attorney General
     United States Attorney's Office                                                  U.S. Department of Justice
       101 W. Main Street (#8000)                                                  950 Pennsylvania Avenue, N.W.
            Norfolk. VA 23510                                                      Washington, DC 20530-0001




Copies will be served on the following defendants at the time & discretion of the United States Attorney General:


Ameka D. Riddick                               Kim PhilippI                           Chang 1. Philippi
c/ 0     Dawson, PLC                           1408 Duck Run Ct.                      1408 Duck Run Ct.
999 Waterside Dr.                              Virginia Beach. VA 23455               Virginia Beach, VA 23455
Norfolk. VA 23510



Alliance Investment & Consulting, LLC          Lionel T. Hines, Sr.                    Alliance Property Holdings
c/o Kim Philippi                               119 Kings Gate Dr.                     c/o Chang I. Philippi
1408 Duck Run Ct.                              Portsmouth, VA 23701                           1408 Duck Run Ct.
Virginia Beach, VA 23455                       Virginia Beach, VA 23455


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                                                       37

     Breit Biniazan, PC                        Don Scott Law,PLLC                     Don L. Scott, Jr.
     c/o Jeffrey. A. Breit                     c/o Don L. Scott, Jr.                  355 Crawford Street (Suite 704)
     600 22"^ Street (Suite 402)               355 Crawford Street (Suite 704)        Portsmouth, VA 23704
     Virginia Beach, Virginia 23451            Portsmouth, VA 23704




     Ethan C. Griffith,                        Mandy L. Owens                         Fanita Y. Pendleton
     Portsmouth Magistrate's Office            Portsmouth Magistrate's Office         Portsmouth Magistrate's Office
     700 Port Centre Pkwy.                     700 Port Centre Pkwy.                  700 Port Centre Pkwy.
     Portsmouth, VA 23704                      Portsmouth, VA 23704                   Portsmouth, VA 23704




     Angela L. Sterling                          Roxie O. Holder                       Kenneth R. Melvin
     Jackson Heart Clinic                        Portsmouth General District Court     Portsmouth Circuit Court
     970 Lakeland Dr.(Suite 61)                  1345 Court Street                     1345 Court Street
     Jackson, MS 39216                           Portsmouth, VA 23704                  Portsmouth, VA 23704




     Anthony J. Nicolo                          Polly Chong
     Ferrell, Sayer & Nicolo                    Polly Chong Law Office
     355 Crawford Street (Suite 704)            732-B Thimble Shoals Blvd.(Suite 201)
     Portsmouth, VA 23704                       Newport News, VA 23606




     The City of Portsmouth                     The Portsmouth Sheriffs Office        The Commonwealth of Virginia
     Office of the City Manager                  Office ofthe Sheriff                  Office ofthe Attorney General
     801 Crawford Street                         1345 Court Street                    202 N. 9"^ Street
     Portsmouth, Virginia 23704                 Portsmouth, Virginia 23704            Richmond, Virginia 23219




this         27ti            day of        January   .   2023.




By

                (Pro se)
           Joelle Joy Angel
           1631 Darren Circle/ Portsmouth. VA23701
              (434) 532-2682                                A     Plaintiff                Plaintiff's Attorney




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